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      creed, national or ethnic origin, citizenship status, age, disability,       Each faculty shall have a standing Committee on Academic Freedom and
      veteran status or any other legally protected class status in the            Responsibility that shall be elected annually. Each faculty’s Committee
      administration of its admissions, ﬁnancial aid, educational or               on Academic Freedom and Responsibility shall, subject to review
      athletic programs, or other University-administered programs or in           by the faculty, and to the extent provided in the relevant procedures,
      its employment practices. Questions or complaints regarding this             including the Procedures Governing Sanctions Taken Against Members
      policy should be directed to the Executive Director of the Ofﬁce of          of the Faculty adopted on June 20, 1997, and as they may be hereafter
      Afﬁrmative Action and Equal Opportunity Programs, Sansom Place               amended, represent the faculty in all proceedings that involve temporary
      East, 3600 Chestnut Street, Suite 228, Philadelphia, PA 19104-6106;          exclusion of or imposition of a major sanction on a faculty member;
      or (215) 898-6993 (Voice) or (215) 898-7803 (TDD).                           suspension or termination of the appointment of a faculty member,
                                                                                   some matters arising from ﬁnancial exigency proceedings, or other
I.K.2. Afﬁrmative Action Ofﬁce                                                     questions concerning an individual faculty member’s claim of violation
                                                                                   of their academic freedom. The committee shall have power to make
The Ofﬁce of Afﬁrmative Action exists organizationally under the Ofﬁce
                                                                                   investigations, reports, and recommendations on any matter relating to
of the President. It is headed by the Director of Afﬁrmative Action and
                                                                                   academic freedom and responsibility within the school that may affect
is responsible for the development and functioning of the University’s
                                                                                   one or more faculty members.
Afﬁrmative Action Program and for providing a formal liaison between
the federal, state, and city compliance agencies and the University. The           Each faculty’s Committee on Academic Freedom and Responsibility
responsibilities include coordinating afﬁrmative action implementation,            shall consist of not less than three members. The faculty shall also elect
programs for the handicapped, and overseeing the mechanism for                     one or more alternate members to serve in the event of the resignation
resolving non-academic employee grievances as they relate to equal                 or disqualiﬁcation of a Committee member. A faculty’s Committee on
opportunity and afﬁrmative action.                                                 Academic Freedom and Responsibility shall not contain department
                                                                                   chairs or administrators. Exceptions, if necessary in small schools,
II. Faculty Policies and Procedures                                                should be allowed with the approval of the Senate Committee on
                                                                                   Academic Freedom and Responsibility. Most members of a faculty’s
  • II.A. Academic Freedom and Responsibility (p. 17)                              committee should be tenured faculty. Such committees shall be elected
  • II.B. Structure of the Academic Staff (p. 17)                                  annually, and in accordance with the bylaws of a faculty, by those faculty
  • II.C. Tenure System at the University of Pennsylvania (p. 33)                  members who are members of the Standing Faculty. Elections shall be
  • II.D. Appointments and Promotions (p. 35)                                      held not later than the beginning of the academic year. The dean shall
                                                                                   report to the Provost, not later than October 15 of each year, giving the
  • II.E. Terms and Conditions of Faculty Appointments (p. 38)
                                                                                   names of the members of the faculty Committee on Academic Freedom

II.A. Academic Freedom and
                                                                                   and Responsibility that is currently in existence. Each faculty Committee
                                                                                   on Academic Freedom and Responsibility shall elect its own chair.

Responsibility                                                                     It is the policy of the University of Pennsylvania to maintain and
                                                                                   encourage freedom of inquiry, discourse, teaching, research, and
(Source: Resolution of the Executive Board of Trustees, February 13, 1953;
                                                                                   publication and to protect any member of the academic staff against
revised, Statutes of the Trustees, Article 10, June 17, 1983; revised as Article
                                                                                   influences, from within or without the University, which would restrict
11, November 2, 2001 (https://secretary.upenn.edu/trustees-governance/
                                                                                   a member of the academic staff in the exercise of these freedoms
statutes-trustees/#eleven); revised, Ofﬁce of the Provost, November 21,
                                                                                   in their area of scholarly interest. The teacher is entitled to freedom
2022)
                                                                                   in research and in the publication of results, subject to the adequate
The University recognizes the importance of a system of tenure for                 performance of their other academic duties, and to the institutional
faculty members as the preeminent means of fostering and protecting                policies and procedures as set forth in the research policies of the
academic freedom in teaching and in scholarly inquiry.                             University. Research for pecuniary return should be based upon an
                                                                                   understanding with the authorities of the institution.
There shall be a Senate Committee on Academic Freedom and
Responsibility of ten members, consisting of the Faculty Senate Chair-             The teacher is entitled to freedom in the classroom in discussing their
Elect and nine members of the Faculty Senate, three of whom are                    subject. The teacher is a member of a learned profession and of an
selected each year in accordance with the Rules of the Senate. This                educational institution. When speaking or writing as an individual, the
committee shall advise and consult with each faculty's Committee on                teacher should be free from institutional censorship or discipline, but
Academic Freedom and Responsibility, and with administrative ofﬁcers,              should note that a special position in the community imposes special
on the establishment of appropriate procedures to be followed in the               obligations. As a person of learning and a member of an educational
event of a claim of violation of academic freedom or responsibility. At            institution, the teacher should remember that the public may judge the
the beginning of each year, the Senate Committee on Academic Freedom               profession and the institution by their utterances. Hence the teacher
and Responsibility shall distribute the “Procedural Principles for Handling        should at all times show respect for the opinions of others, and should
Complaints Concerning Academic Freedom and Responsibility” to                      indicate when they are not speaking for the institution.
the members of each faculty’s Committee on Academic Freedom and
Responsibility. The Committee shall have power to make investigations,             II.B. Structure of the Academic Staff
reports, and recommendations on any matter relating to academic
freedom and responsibility within the University. The Committee shall be           II.B.1. Standing Faculty
governed in its responsibilities and procedures by rules established by
                                                                                   (Source: Standing Resolution of the Trustees, June 4, 1976; revised,
the Faculty Senate.
                                                                                   September 9, 1983 and Statutes of the Trustees, Article 9, 1983; revised as
                                                                                   Article 10, November 2, 2001 (https://secretary.upenn.edu/trustees-


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In the Schools of Nursing, Medicine and Dental Medicine, the professional     Teaching Fellow
careers of Clinical Associates may be in University-owned clinical            A teaching fellow teaches or guides students under the direction of a
practices.                                                                    faculty member. The teaching assignment is directly related to the area
                                                                              in which the teaching fellow's degree is to be conferred and equivalent
10. Senior Fellow. A Senior Fellow of the University is a distinguished
                                                                              teaching (with respect to duration and the nature of the assignment) is
scholar who holds an appointment outside the Standing Faculty at the
                                                                              required of all candidates as a condition for receiving such a degree.
University for teaching or research, for a limited period of time.

                                                                              Research Assistant
II.B.5. Postdoctoral Trainees                                                 A research assistant aids the research of an investigator or a member of
(Source: Ofﬁce of the Provost, Almanac, May 7, 2002; revised, Almanac,        the faculty.
September 7, 2004; revised, Almanac, January 15, 2008 (https://
almanac.upenn.edu/archive/volumes/v54/n17/policy.html))                       Research Fellow
                                                                              A research fellow is appointed for research under the direction of a
The title of Postdoctoral Trainee is accorded to individuals holding the
                                                                              faculty member whose research is directly related to the area in which
degree of Ph.D, M.D. or the equivalent, who are engaged in a temporary
                                                                              the fellow’s degree is to be conferred and in which equivalent research is
and deﬁned period of mentored advanced training to enhance their
                                                                              required of all candidates as a condition for receiving such a degree.
professional skills and research independence needed to pursue
their chosen career path. An individual who has been designated as
a Postdoctoral Trainee by their school receives training conducted
                                                                              Pre-doctoral Trainee
in an apprenticeship mode under the supervision of an established             A pre-doctoral trainee receives a fellowship that is paid from external
faculty member who serves as a mentor. As dictated by the nature of the       grants but does not require service of the student for the term of the
program, the trainee may be undertaking scholarship, research, service,       appointment.
and teaching activities, all of which provide training essential for career
development.                                                                  Educational Fellow
                                                                              An educational fellow receives a fellowship that is paid from University
There are three categories of postdoctoral trainees, based upon funding       of Pennsylvania funds, such as a dean’s account or the University
source: postdoctoral researcher (supported from a research grant), NRSA-      Fellowship Fund, and requires no service of the student for the term of
postdoctoral fellow (supported by an individual or institutional National     the appointment.
Research Service Award), and postdoctoral fellow (supported by a private
foundation, non-proﬁt charitable organization, or other source). Funding
sources may have their own guidelines governing participation in their
                                                                              II.B.7. Emeritus Faculty
                                                                              Emeritus status is conferred upon Professors and Associate Professors
programs. In instances where these guidelines differ from University
                                                                              in the Standing Faculty and upon Standing Faculty—Clinician-Educators
policy, the guidelines of the funding source take precedence.
                                                                              at the time of their retirement. Retiring faculty members have the
Postdoctoral appointments are for one year, and may be renewed                option of using or not using the modiﬁer "Emeritus" or maintaining their
annually based on satisfactory performance and availability of funding.       "Professor" title. The same rights and restrictions to being retired apply.
Under current University policy, no person may be a Postdoctoral Trainee      (See also section on Retirement (p. 44), which provides information on
for more than ﬁve years.                                                      faculty transition programs, continuing University beneﬁts in retirement
                                                                              and the rights and privileges of retired faculty members.)
A complete description of the University's Postdoctoral Trainee Policy,
which covers appointment and resignation, beneﬁts and leaves,
obligations and responsibilities, and training, may be found at the
                                                                              II.C. Tenure System at the University
following link: http://www.upenn.edu/almanac/volumes/v54/n17/                 of Pennsylvania
policy.html
                                                                              II.C.1. Purpose of the Tenure System
II.B.6. Staff Appointments of Graduate                                        The protection of the academic freedom of individual teachers and
and Professional Students                                                     scholars is the instrument by which society at large is protected
                                                                              from hindrances to the search for knowledge and from limits on the
The following appointments are limited to persons registered for full
                                                                              dissemination of knowledge. The statutes of the University hold that
time study in the graduate or professional programs of the University
                                                                              a system of tenure for faculty members is the preeminent means of
of Pennsylvania. Service-related appointments are for one year or
                                                                              fostering and protecting academic freedom of the faculty in teaching and
less; however, they may be renewed. Service-related appointments
                                                                              in scholarly inquiry.
cannot require more than twenty hours of service per week. All teaching
assistants, teaching fellows, research assistants and research fellows        The tenure system consists of rules and procedures that establish an
must receive letters of appointment that state the length of the              essentially self-regulated body of scholars enjoying the continuity of
appointment, the level of funding, and the services expected.                 existence and economic security within which academic freedom is
                                                                              both fostered and protected. The protections of academic freedom are
Teaching Assistant                                                            extended to all members of the faculty during their terms of appointment.
A teaching assistant teaches or guides students under the direction of a      The rights and privileges embodied in the tenure system are extended to
faculty member. The teaching assignment is not required of all graduate       all members of the Standing Faculty during their terms of appointment.
students in the degree program.                                               Certain of these rights and privileges are also extended to members of
                                                                              the Associated Faculty during their terms of appointment.



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94       IV.C. Charter of the University Student Disciplinary System




Academic Dishonesty Deﬁnitions                                                    the Ofﬁce of the General Counsel, working closely with other University
                                                                                  student affairs professionals, prepared amendments to the Charter of the
Activities that have the effect or intention of interfering with education,       Student Disciplinary System. As required by the Charter, the amendments
pursuit of knowledge, or fair evaluation of a student’s performance are           have been approved by the Council of Deans, the Faculty Senate and the
prohibited. Examples of such activities include, but are not limited, to the      Provost and are in effect.
                      1
following deﬁnitions:
                                                                                  Andrew N. Binns, Vice Provost for Education
1. Cheating: using or attempting to use unauthorized assistance,                  Susan Herron, Director, Ofﬁce of Student Conduct
   material, or study aids in examinations or other academic work or
   preventing, or attempting to prevent, another from using authorized            Changes
   assistance, material, or study aids. Examples: using a "cheat sheet" in
   a quiz or exam, altering a graded exam and resubmitting it for a better        The signiﬁcant points of OCR’s guidance include the following:
   grade.
                                                                                    • Once a school knows or reasonably should know of possible sexual
2. Plagiarism: using the ideas, data, or language of another without                  misconduct, it must take immediate and appropriate action to
   speciﬁc or proper acknowledgment. Examples: copying another                        investigate or otherwise determine what occurred.
   person’s paper, article, or computer work and submitting it for an
                                                                                    • If sexual misconduct has occurred, a school must take prompt and
   assignment; cloning someone else’s ideas without attribution; failing
                                                                                      effective steps to end the sexual violence, prevent its recurrence, and
   to use quotation marks where appropriate.
                                                                                      address its effects, whether or not the sexual violence is the subject
3. Fabrication: submitting contrived or altered information in any                    of criminal investigation.
   academic exercise. Examples: making up data for an experiment,
                                                                                    • A school must take steps to protect the complainant as necessary,
   fudging data, citing nonexistent articles, contriving sources.
                                                                                      including interim steps taken prior to the ﬁnal outcome of the
4. Multiple submission: submitting, without prior permission, any work                investigation.
   submitted to fulﬁll another academic requirement.
                                                                                    • A school must provide a procedure for students to ﬁle complaints
5. Misrepresentation of academic records: misrepresenting or                          of sex discrimination, including complaints of sexual misconduct.
   tampering with or attempting to tamper with any portion of a                       These procedures must include an equal opportunity for both parties
   student’s transcripts or academic record, either before or after                   to present witnesses and other evidence and the same appeal rights.
   coming to the University of Pennsylvania. Examples: forging a change
                                                                                    • A school’s procedures must use the preponderance of the evidence
   of grade slip, tampering with computer records, falsifying academic
                                                                                      standard to resolve complaints of sexual misconduct. [1]
   information on one’s resume.
6. Facilitating academic dishonesty: knowingly helping or attempting              With the guidance in mind, we developed some special procedures for
   to help another violate any provision of the Code. Example: working            handling sexual misconduct cases and added a section in the Charter
   together on a take-home exam.                                                  describing these. For the full text of these amendments, please refer to
7. Unfair advantage: attempting to gain unauthorized advantage                    Section II.J. of the amended Charter. The amendments also include other
   over fellow students in an academic exercise. Examples: gaining or             minor clean-up revisions, such as correction of scrivener’s errors.
   providing unauthorized access to examination materials, obstructing
                                                                                  [1] U.S. Department of Education, Ofﬁce for Civil Rights, Dear Colleague
   or interfering with another student’s efforts in an academic exercise,
                                                                                  Letter: Sexual Violence, Background, Summary and Fast Facts, April 4,
   lying about a need for an extension for an exam or paper, continuing
                                                                                  2011
   to write even when time is up during an exam, destroying or keeping
   library materials for one’s own use.                                           Introduction
1                                                                                 The Charter of the Student Disciplinary System sets forth the procedures
     If a student is unsure whether his/her action(s) constitute a violation
    of the Code of Academic Integrity, then it is that student’s responsibility   under which alleged violations of the University’s Code of Student
    to consult with the instructor to clarify any ambiguities.                    Conduct, Code of Academic Integrity, and other policies, rules, and
                                                                                  regulations are resolved.

IV.C. Charter of the University                                                   The Code of Student Conduct sets forth the responsibility of all students
                                                                                  at the University of Pennsylvania to exhibit responsible behavior
Student Disciplinary System                                                       regardless of time or place. This responsibility includes, but is not limited
                                                                                  to, the obligation to comply with all provisions of the Code of Student
(Source: Ofﬁce of the Provost, Almanac, December 2, 1980; revised,                Conduct; with all other policies and regulations of the University, its
Almanac, September 4, 1984; revised, Almanac, May 26, 1992; revised,              schools, and its departments; and with local, state, and federal laws.
Almanac, September 10, 1996; revised, Almanac, April 27, 2010 (https://
almanac.upenn.edu/archive/volumes/v56/n31/senate.html))                           The Code of Academic Integrity, and similar codes adopted by some
                                                                                  of the University’s schools, set forth the standards of integrity and
Preamble                                                                          honesty that should be adhered to in all student academic activities at
                                                                                  the University of Pennsylvania.
In response to increasing concern about sexual assault and its
consequences, the U.S. Department of Education, Ofﬁce for Civil Rights            Violations of the Code of Academic Integrity or school regulations are
(OCR) issued a new “guidance” document concerning compliance                      also violations of the University’s Code of Student Conduct. Further,
with Title IX of the Education Amendments of 1972. Title IX prohibits             violations of local, state, and federal laws may be violations of the Code
discrimination on the basis of sex in educational programs, including             of Student Conduct. Therefore, throughout the Charter references to
sexual misconduct. In this context, the Ofﬁce of Student Conduct and


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violation(s) or alleged violation(s) of the Code of Student Conduct include   2. Except as provided below, the Student Disciplinary System has
violations of these other policies and laws.                                     jurisdiction in all disciplinary matters arising under the regulations
                                                                                 of the University against registered students, whether they be
The University disciplinary process at Penn may involve the following            undergraduates, graduate or professional students, or others,
stages:                                                                          including students who are on unexpired leaves of absence. Approved
                                                                                 or unapproved absence from the University is not a bar to the conduct
  • Bringing a complaint to the Ofﬁce of Student Conduct
                                                                                 or completion of disciplinary proceedings under this Charter.
  • Resolving a complaint by mediation
                                                                              3. In general, a student is any individual who has been admitted,
  • Investigating a complaint                                                    matriculated, enrolled, or registered in any academic program or other
  • Filing charges by the University against a student                           educational activity provided by the Trustees of the University of
  • Resolving charges by voluntary agreement to sanctions                        Pennsylvania.
  • Resolving charges by disciplinary hearing                                 4. The Student Disciplinary System does not handle complaints
  • Appealing the decision of a hearing panel                                    against graduate and professional students when such cases lie
                                                                                 within the jurisdiction of a hearing board or other disciplinary body
  • Imposing sanctions on a student
                                                                                 established by the school of the University in which the student is
  • Fulﬁlling sanctions imposed by the University
                                                                                 enrolled. When such a school-based disciplinary procedure exists,
Under the University’s Student Disciplinary System, charges are brought          it should be the recourse of ﬁrst resort for the resolution of an
on behalf of the University, not on behalf of the complainant(s) who             alleged violation of University or school regulations, unless the OSC
brought the matter to the Ofﬁce of Student Conduct (OSC) or the                  decides, in consultation with the Provost, that it is appropriate in
party(ies) who may have been directly or indirectly harmed by the                light of the circumstances for the Student Disciplinary System to
alleged violation of University regulations. Therefore, complainants who         handle the matter. Schools with such procedures are encouraged
wish to maintain greater control over the investigation and resolution           to refer disciplinary matters (excluding academic integrity matters)
of their complaints, such as is sometimes appropriate in cases of                to the University Mediation Program whenever appropriate. When
sexual offenses or in cases involving serious cultural or communicative          an alleged violation of University regulations by a graduate or
differences, or those who wish merely to create a record of their                professional student is not within the jurisdiction of a disciplinary
complaint without necessarily beginning a formal disciplinary process,           system established by the student’s school, the Student Disciplinary
may wish to bring their complaint to other University resource ofﬁces,           System shall have jurisdiction over the matter.
particularly the Ofﬁce of the Ombudsman, which are equipped to handle         5. The Student Disciplinary System does not handle alleged violations
cases in this manner. Such ofﬁces may, when appropriate and helpful in           of the University’s parking regulations.
an individual case, consult with relevant campus communities or other         6. Alleged violations of the University’s Residential Living policies
resource ofﬁces in the process of investigating and resolving a complaint        and contracts are ordinarily handled under the procedures of the
and are able to work closely with both complainants and respondents              Ofﬁce of College Houses and Academic Services (CHAS) but, if
in resolving such matters. If such efforts fail to arrive at a satisfactory      serious enough to warrant sanctions beyond those which the CHAS
resolution, the complainant still has the option of bringing a complaint to      is authorized to impose, may be referred by the Director of CHAS to
the OSC.                                                                         the Ofﬁce of Student Conduct. The fact that proceedings have been
                                                                                 held and sanctions imposed under CHAS policies does not preclude
Through the University Honor Council, students play a major role in the          proceedings under this charter.
Student Disciplinary System by advising the Director of the Ofﬁce of
                                                                              7. The Director of the Ofﬁce of Student Conduct decides all questions
Student Conduct and the Provost on matters of policy and the operation
                                                                                 of jurisdiction of the Student Disciplinary System arising under
of the System, and by sitting as members of disciplinary hearing panels.
                                                                                 this Charter, consulting with the Provost (or designee) and with the
Students also serve as advisors and mediators within the System.
                                                                                 University’s General Counsel when necessary. When appropriate, the
The System places great emphasis on the mediation of disputes, as is             Ofﬁce of Student Conduct may refer a complaint to another University
appropriate in a University.                                                     ofﬁce or disciplinary process.


IV.C.1. The Student Disciplinary System                                       C. General Principles of the Disciplinary System
                                                                              1. The University’s Student Disciplinary System is not a legal system,
A. Statement of Purpose                                                          and University disciplinary proceedings are not civil or criminal
The purpose of the Student Disciplinary System is to further the                 litigation. Thus, they operate under different rules, standards, and
educational mission of the University of Pennsylvania by providing a             procedures, and seek to achieve ends different from criminal or civil
fair and effective mechanism for investigating and resolving disputes            proceedings.
involving students and alleged violations by students of the University’s     2. Any member of the University community—trustees, faculty, staff or
rules, regulations, and policies.                                                registered students—may bring a complaint about student conduct or
                                                                                 academic integrity to the attention of the Ofﬁce of Student Conduct.
B. Jurisdiction of the Student Disciplinary System                               Doing so in no way limits a complainant(s)’s rights or obligations
1. Through the Ofﬁce of Student Conduct (OSC), the Student                       to bring such matters to the attention of other University ofﬁces,
   Disciplinary System handles complaints from members of the                    ofﬁcers, or resources, including the Ofﬁce of the Ombudsman and
   University community— trustees, faculty, staff or registered students         appropriate deans, or to seek recourse outside the University through
   —about alleged violations of the Code of Student Conduct, the Code            civil or criminal legal proceedings.
   of Academic Integrity, or other University policies.                       3. In all cases, the University reserves the right to determine how to
                                                                                 process a disciplinary complaint. Once a complaint is brought to the


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     attention of the Ofﬁce of Student Conduct, the OSC, on behalf of the      The University Honor Council (UHC) educates students, faculty
     University, will decide how the complaint will be handled, including      and staff regarding both the standards of academic integrity and of
     whether disciplinary charges should be brought against a student.         behavioral conduct of the University community. The UHC provides
4. It is expected that most matters brought to the OSC can and should          independent advice to the Provost and the Ofﬁce of Student Conduct
   be resolved through mediation and will not result in charges or             regarding policies of academic integrity and of conduct, as well as
   disciplinary hearings. However, because of their seriousness within         their implementation; the operation of the University Disciplinary
   an academic community, alleged violations of the Code of Academic           System in the areas of academic integrity and student conduct;
   Integrity will not be referred for mediation. Thus, except in academic      the general handling of academic integrity and of conduct cases;
   integrity matters and matters that warrant treatment as serious             and the effectiveness and implementation of the University’s Code
   violations of the Code of Student Conduct or other University policies,     of Academic Integrity and its codes of conduct. Members of the
   the initial response by the OSC may be to refer the complainant             University Honor Council also sit on Disciplinary Hearing Panels for
   and respondent to the University’s mediation program. Only if               cases of alleged violations of the Code of Academic Integrity, the
   mediation fails or is inappropriate will the OSC begin the more formal      Code of Student Conduct and related policies.
   disciplinary processes outlined in this charter.                            The UHC meets regularly with the Director of the Ofﬁce of Student
                                                                               Conduct and may also meet with appropriate administrators and
5. All members of the University community—trustees, faculty, staff
                                                                               students, faculty or administrative groups or committees to discuss
   or registered students—are required to cooperate with the Student
                                                                               academic integrity and conduct issues. The UHC also initiates
   Disciplinary System. Those individuals who may be interviewed or
                                                                               and participates in educational programs in the areas of academic
   called as witnesses in a disciplinary matter (including respondents
                                                                               integrity and of student conduct.
   and complainants) are obligated to provide honest and complete
                                                                               The University Honor Council consists of a minimum of twenty
   statements to the OSC and to the Hearing Panel. While in some
                                                                               undergraduate students, recommended by the Nominations and
   circumstances a respondent may choose not to answer questions
                                                                               Elections Committee (NEC) in cooperation with the current members
   or provide information because of pending civil claims or criminal
                                                                               of the UHC, and appointed by the Provost for renewable terms of
   charges arising out of the same or other events, the respondent’s
                                                                               one year. The NEC and UHC are encouraged to ensure that nominees
   decision not to answer questions or provide information will not be
                                                                               represent a broad cross section of the undergraduate student body.
   a reason to delay or defer an investigation or proceedings under this
                                                                               The UHC selects a chair from among its members by a majority
   Charter. A student who fails, without good cause, to appear for a
                                                                               vote of the current members. Faculty members and graduate
   hearing after receiving notice, or to cooperate with the investigation
                                                                               students designated by the Faculty Senate or the Graduate and
   conducted by the OSC, may be charged with a violation of the Code
                                                                               Professional Student Assembly to sit on Disciplinary Hearing Panels
   of Student Conduct. Repeated disruption of disciplinary hearings or
                                                                               may participate in the work of the UHC at the mutual convenience of
   the disciplinary process by a student or the student’s advisor may
                                                                               the UNC and the faculty member or graduate student.
   result in charges against the student of non-cooperation with the
   Student Disciplinary System or exclusion of the student or advisor        4. Disciplinary Hearing Ofﬁcer
   from disciplinary proceedings including disciplinary hearings. Such          The Faculty Senate shall appoint a tenured member of the Standing
   exclusion is not a bar to the completion of disciplinary proceedings         Faculty of the University of Pennsylvania as Disciplinary Hearing
   involving that student.                                                      Ofﬁcer (DHO), preferably from among those faculty who have
                                                                                experience with the Student Disciplinary System. The DHO selects
D. Organization of the Disciplinary System                                      members to serve on Disciplinary Hearing Panels; determines the
1. Ofﬁce of Student Conduct                                                     time and location of hearings; and presides over all disciplinary
   The Ofﬁce of Student Conduct is the central ofﬁce responsible for            hearings held under this charter. The DHO is responsible for
   resolving alleged violations of University policies by students. The         overseeing the procedural integrity of disciplinary hearings. The
   duties of the OSC include determining whether complaints warrant             DHO shall, for example: consider and resolve pre-hearing challenges
   action by the OSC, referring complaints for mediation or resolution          to the authority or procedures of a Disciplinary Hearing Panel; rule
   by other University ofﬁces, investigating complaints, determining            on all disqualiﬁcation requests and objections to individual panel
   whether to charge a student with violations of University policies,          members; assist parties to adhere to the basic principles of fairness
   resolving complaints by voluntary agreements to sanctions, bringing          prior to, during, and subsequent to disciplinary proceedings; and may
   charges of violations to a disciplinary hearing, presenting evidence         consult at any time with students, faculty members, the University’s
   at hearings, monitoring and enforcing the fulﬁllment of sanctions            General Counsel, or others about procedural issues. The DHO also
   imposed pursuant to voluntary agreements or after disciplinary               participates in the training of prospective faculty and student
   hearings, maintaining records of all disciplinary matters, providing         members of Disciplinary Hearing Panels. The DHO serves and may be
   administrative support for all aspects of the disciplinary process           reappointed at the discretion of the Provost, but his/her removal or
   (including hearings), and preparing reports and compiling statistics.        reappointment may not occur without prior consultation with the UHC
                                                                                and the chairs of the Faculty Senate.
2. University Mediation Program
   The University Mediation Program (UMP) recruits, screens, and             5. Disciplinary Appellate Ofﬁcer
   trains members of the University community to serve as mediators.            Every two years, the Provost, after consultation with the UHC and the
   The UMP uses the volunteer services of faculty, students, and staff          chairs of the Faculty Senate, shall appoint a tenured member of the
   members who have been trained in mediation and dispute resolution            Standing Faculty of the University of Pennsylvania as a Disciplinary
   and may also use resources available in the University’s Law School,         Appellate Ofﬁcer (DAO), preferably from among those faculty who
   in University resource ofﬁces such as the Ofﬁce of the Ombudsman,            have experience with the Student Disciplinary System. The DAO
   or outside the University.                                                   decides appeals of ﬁndings and recommended sanctions made by
                                                                                Disciplinary Hearing Panels based on the record of such proceedings
3. University Honor Council
                                                                                and written submissions from the relevant parties. The DAO serves


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  and may be reappointed at the discretion of the Provost, but his/her             advisor. The OSC maintains lists of individuals who are willing to
  removal or reappointment may not occur without prior consultation                serve as advisors and who have received training in the operation
  with the UHC and the chairs of the Faculty Senate.                               of the Student Disciplinary System.
6. Disciplinary Hearing Panels                                                  b. Upon receiving notice of a complaint and the accompanying list
    a. Disciplinary matters are heard by Disciplinary Hearing Panels of            of trained advisors, a respondent may select an advisor from this
       ﬁve members each. The Disciplinary Hearing Ofﬁcer randomly                  list or choose any other University faculty member, staff member,
       selects the undergraduate members of Disciplinary Hearing                   or student in good academic and disciplinary standing to advise
       Panels from the membership of the University Honor Council for              the respondent during the disciplinary process. If criminal
       academic integrity violations. The Disciplinary Hearing Ofﬁcer              charges are pending against a respondent or, in the judgment of
       randomly selects the graduate and professional student members              the Ofﬁce of the University’s General Counsel, are reasonably in
       of Hearing Panels from lists of thirteen or more graduate and               prospect, the respondent’s advisor may be an attorney who is
       professional students provided annually to the DHO by GAPSA.                not a member of the University community. In such instances,
       The Disciplinary Hearing Ofﬁcer randomly selects the faculty                the attorney shall be expected to observe the procedures of
       members of Hearing Panels from lists of thirteen or more faculty            this Charter and comply fully and promptly with decisions of
       provided annually to the DHO by the Faculty Senate Executive                the DHO or other University ofﬁcials or bodies charged with the
       Committee. GAPSA and the Faculty Senate Executive Committee                 administration of this Charter in the same manner expected of
       are encouraged to ensure that nominees represent a broad                    members of the University community.
       cross-section of graduate and professional students and faculty,         c. An advisor may accompany any complainant, witness, or
       respectively.                                                               respondent to, and may participate in, any meeting regarding
   b. In all disciplinary matters except those involving alleged                   a disciplinary complaint. Advisors also may accompany
      violations of the Code of Academic Integrity, the Disciplinary               complainants, respondents, and witnesses to hearings, but
      Hearing Panel is composed of two faculty members and three                   generally may not participate directly in such hearings (except as
      students of the same category (undergraduate or graduate)                    provided in section IV.C.2.F.4.f below). Advisors to respondents
      as the respondent. If a disciplinary matter involves both                    may, however, quietly advise the respondent(s) during the hearing
      undergraduate and graduate respondents, the panel shall include              and may also make a brief statement at the conclusion of the
      at least one undergraduate and at least one graduate student                 hearing, before the panel begins its deliberations.
      and two faculty members; the ﬁfth panel member shall be an                d. Any advisor who fails to observe the procedures of this Charter
      undergraduate or graduate student selected by the DHO.                       or comply fully and promptly with decisions of the DHO may, after
   c. In disciplinary matters involving alleged violations of the Code of          appropriate warning, be disqualiﬁed by the DHO from continuing
      Academic Integrity, the Disciplinary Hearing Panel is composed               to serve. In the event of such disqualiﬁcation, the hearing may
      of three faculty members and two students of the same category               proceed whether or not a replacement advisor is available or it
      (undergraduate or graduate) as the respondent. If a disciplinary             may be rescheduled, at the sole discretion of the DHO. Any person
      matter involves both undergraduate and graduate respondents,                 disqualiﬁed from serving as an advisor shall be ineligible to serve
      the panel shall consist of one undergraduate student, one                    as an advisor for a period of two years. Repeated disruption of
      graduate student, and three faculty members.                                 disciplinary hearings or the disciplinary process by an advisor
   d. Except for participation on the University Honor Council, no                 may result in charges against the advisee of non-cooperation with
      one designated to serve on Disciplinary Hearing Panels may                   the Student Disciplinary System. If the advisor is a member of
      serve simultaneously in any other capacity within the Student                the student body, faculty, or staff of the University, disciplinary
      Disciplinary System.                                                         charges may be brought against the advisor in the appropriate
                                                                                   forum.
   e. If any nominating body chooses fewer than thirteen members to
      serve on Disciplinary Hearing Panels or cannot make additional
      members available when needed, the Provost shall make the             IV.C.2. The Disciplinary Process
      necessary appointments to ﬁll the complement of the appropriate       A. Bringing a Complaint to the Ofﬁce of Student Conduct
      group. If any member is unable to serve for any reason, a
                                                                            1. Any student, faculty or staff member who believes that a student has
      replacement is selected in the same manner that the original
                                                                               violated University rules, regulations or policies may ﬁle a complaint,
      member was chosen.
                                                                               which must be in writing, with the OSC. A complaint asks the OSC to
    f. Student members of Disciplinary Hearing Panels must be in               consider the matter for possible referral or investigation. Students,
       good academic and disciplinary standing, as deﬁned by their             faculty, or staff members also may consult informally with the OSC
       schools. The University Honor Council, as appropriate, by a vote        staff to determine whether they wish to ﬁle a complaint. Complaints
       of two-thirds of its members, may remove a member who fails to          made to other University ofﬁces or personnel also may be referred to
       perform his or her duties. When a member ceases to be in good           the OSC.
       standing or is removed by the UHC, a replacement from the same
                                                                            2. The OSC promptly evaluates each complaint it receives to determine
       category shall be chosen in the same manner that the original
                                                                               whether the University’s Code of Student Conduct, Code of Academic
       member was chosen.
                                                                               Integrity, or other applicable rules, regulations, or policies may have
7. Advisors                                                                    been violated. When the OSC determines that no such violation
    a. Advisors help students involved in disciplinary proceedings to          may have occurred, it may dismiss the matter without further
       understand the disciplinary process, respect and comply with            investigation, or it may refer the parties to the University Mediation
       the provisions of this Charter, and deal with all aspects of the        Program or elsewhere to resolve their dispute. When the OSC
       process. Any University faculty member, staff member, or student        determines that a violation may have occurred, it may refer the matter
       in good academic and disciplinary standing may serve as an



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     for mediation or undertake an investigation that may lead to the ﬁling   or may dismiss the original complaint as unfounded. If the OSC decides
     of formal charges against a student or students.                         to charge a student with a violation of University regulations, the OSC
3. A complaint is not a charge that a student has violated University         must inform the respondent(s) of the charges in writing, identifying the
   regulations. Charges against a student are only made by the                University rules, regulations, or policies alleged to have been violated. The
   University (not by complainants) following an investigation. Until         OSC shall inform both respondent(s) and complainant(s) whether charges
   there is a determination to the contrary by voluntary agreement to         have been ﬁled.
   sanctions or by a Disciplinary Hearing Panel, there is a presumption
   that an accused student has not violated University rules, regulations,    E. Resolving Charges by Voluntary Agreement to
   or policies.                                                               Sanctions
4. When a complaint is ﬁled, the OSC promptly gives written notice of         1. Following the notice that charges have been ﬁled against a student,
   the complaint and its allegations to the student(s) alleged to have           the OSC may discuss with the respondent and the respondent’s
   violated University rules. A copy of the Charter shall be included with       advisor what disciplinary sanction(s) would be appropriate to resolve
   the notice, as well as a list of potential advisors who have received         the matter by voluntary agreement to sanctions. The respondent
   training from the OSC.                                                        may accept, reject, or propose an alternative to the proposed
                                                                                 sanction(s), and may be accompanied and assisted by an advisor,
B. Resolving a Complaint by Mediation                                            who may participate in these discussions. Statements made during
1. The University encourages informal mediation whenever practical               discussions about whether a respondent will enter into a voluntary
   and appropriate. If the parties agree, at any time the OSC may refer          agreement to sanctions may not be introduced as evidence at any
   any disciplinary matter other than an alleged violation of the Code           subsequent hearing, but may provide a basis for further investigation
   of Academic Integrity to the University Mediation Program (UMP) or            by the OSC.
   other resources for mediation. Members of the University community         2. A resolution by voluntary agreement to sanctions may be entered
   —Trustees, faculty, staff or registered students— may also contact            into by written agreement at any time after a complaint has been
   the University Mediation Program directly.                                    ﬁled and prior to a disciplinary hearing. All sanctions allowed under
2. It is within the sole discretion of the OSC to determine whether a            this Charter are available to the OSC as part of a resolution by
   disciplinary complaint is suitable for mediation. If mediation fails or       voluntary agreement to sanctions. By agreeing to such a resolution, a
   new information comes to light about an unresolved matter then in             respondent waives further proceedings under this Charter.
   mediation, the OSC may proceed with an investigation and the ﬁling         3. Complainants and complainants’ advisors are not parties to voluntary
   of disciplinary charges. The OSC may also set a date after which it           agreements to sanctions.
   will begin to investigate the original complaint or ﬁle charges if a       4. If, in the judgment of the OSC, a voluntary agreement to sanctions is
   matter has not been successfully mediated.                                    not reasonably in prospect, or if the respondent(s) reject a proposed
3. If the OSC refers a complaint for mediation and both parties to the           sanction, the OSC may bring the disciplinary matter to a hearing.
   dispute agree to participate, the UMP will assign a trained mediator
   and advise the complainant(s) and respondent(s) in advance of              F. Resolving Charges by Disciplinary Hearing
   the date, time and place set for mediation. In order to resolve a          1. Scheduling Disciplinary Hearings
   disciplinary matter by mediation, both the complainant and the                 a. If disciplinary charges are not resolved by a voluntary agreement
   respondent must agree, ﬁrst, to participate in the mediation and,                 to sanctions, the Disciplinary Hearing Ofﬁcer promptly begins the
   second, to the proposed resolution.                                               process of scheduling the Disciplinary Hearing, with due regard
4. If a student fails to comply with the terms of a mediation agreement,             for the time required for all parties to prepare for the hearing. The
   the OSC may take steps to enforce the agreement (including use of                 DHO shall provide reasonable advance notice in writing to the
   a Disciplinary Hold or the ﬁling of new charges under the Code of                 complainant(s), respondent(s), and witnesses of the date, time,
   Student Conduct) or may investigate the original complaint and bring              and place of the hearing and of the names of the panel members
   disciplinary charges under this Charter.                                          assigned to hear the disciplinary matter.
                                                                                   b. Hearings normally take place as soon as possible after the ﬁling
C. Investigating a Complaint                                                          of charges. Upon a showing of good cause by the OSC or the
1. If, after a preliminary evaluation of a complaint, the OSC determines              respondent(s), the DHO may grant a reasonable extension of any
   that a violation of the Code of Student Conduct may have occurred                  time limit set forth in the Charter.
   and if the complaint is inappropriate for mediation or mediation fails,         c. The DHO may expedite a Disciplinary Hearing in appropriate
   the OSC shall investigate the complaint and determine whether to                   circumstances, including disciplinary matters involving students
   bring charges of a violation.                                                      who have been placed on mandatory temporary leave of absence
2. In the course of its investigation, the OSC may interview any                      or conditional attendance, graduating students, or students who
   witnesses, including the respondent(s) or potential respondent(s).                 are about to take a leave of absence or to leave campus to study
   The OSC shall inform each witness that anything they say in such                   elsewhere.
   interviews may be introduced as evidence at a hearing.                     2. Disqualiﬁcation of Hearing Panel Members
                                                                                  a. Members of the Hearing Panel selected by the DHO should
D. Filing Charges by the University Against a Student                                disqualify themselves from hearing a disciplinary matter if they
In light of its investigation of a complaint, the OSC may ﬁle charges                believe in good faith that their capacity for making an objective
against a student(s) of a violation(s) of the University’s Code of                   judgment in the disciplinary matter is, or may reasonably appear
Student Conduct, Code of Academic Integrity, or other University rules,              to be, impaired. Members should not disqualify themselves for
regulations, or policies. The OSC also may add charges beyond the scope              any other reason.
of the original complaint, may add additional students as respondents,


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    b. The respondent(s) or the OSC may object for speciﬁc cause to                  to protect the rights of participants, declare the hearing closed
       any panel member selected by the DHO. The objection must be                   to the public. In a case involving important privacy interests,
       in writing and must be received by the DHO at least 48 hours in               the DHO may close a hearing or part of a hearing that has been
       advance of the date and time set for the hearing.                             opened upon determining that the privacy rights of a participant
    c. The DHO will rule upon all disqualiﬁcation requests and                       may be jeopardized.
       objections to panel members. If the DHO decides that a challenge           d. Upon a showing that the required notice was provided, the
       is valid, or if there is a voluntary disqualiﬁcation, the DHO,                hearing against a respondent(s) may proceed in his/her absence.
       after notifying the respondent(s) and the OSC, will replace the            e. At the hearing, the OSC presents the results of the its
       disqualiﬁed member with another panel member randomly                         investigation of the complaint, calls witnesses to testify and
       selected from the same category.                                              presents the University’s evidence against the student(s).
3. Pre-Hearing Exchanges and Testimony                                               Members of the Hearing Panel may also call witnesses to testify
    a. Before the hearing, the OSC and the respondent(s) shall exchange              and may question any witness appearing before it. Respondents
       among themselves and with the DHO copies of all exhibits to                   may also call witnesses to testify and ask questions of all
       be presented, the names of witnesses to be called, and a brief                witnesses.
       summary of the substance of testimony expected to be presented              f. A respondent is responsible for presenting his/her own case
       to the Hearing Panel.                                                          before the Hearing Panel. However, at the discretion of the DHO,
    b. When the DHO believes that it will contribute to the expedition                the respondent’s advisor may be permitted to question witnesses
       and fairness of a Disciplinary Hearing, he/she may (but need                   on behalf of a respondent or to address the Hearing Panel. The
       not) ask the OSC to prepare a written statement of its case                    DHO’s exercise of discretion in this matter will be guided by the
       against the respondent(s) and give the respondent(s) a                         principles that govern disciplinary hearings, speciﬁcally, fairness,
       reasonable opportunity to prepare a written response. The OSC                  the need for orderly procedures, and the Hearing Panel’s duty to
       and respondent(s) also may submit statements at their own                      understand the facts and parties in the disciplinary matter.
       initiative. The statements and any accompanying exhibits may               g. Complainants may attend the hearing, testify if they wish to do
       be considered by the Hearing Panel, in addition to testimony,                 so, and may be accompanied by an advisor. Neither complainants
       arguments, or evidence presented at the actual hearing.                       nor their advisors may call witnesses or present evidence or
    c. In exceptional circumstances, when a witness or exhibit does not              arguments.
       become known or available until immediately before the hearing,            h. At the conclusion of the hearing the OSC and the respondent(s)
       the DHO may, at his/her discretion, permit the evidence to be                 or their advisor(s) may make brief statements. At the discretion
       presented or may reschedule the hearing to a later time.                      of the Disciplinary Hearing Ofﬁcer, the complainant(s) or their
    d. If a respondent or the OSC anticipates that a key witness will be             advisor(s) may be permitted to make a brief statement. The time
       unavailable for a hearing, they may ask the DHO to preserve the               allowed for such statements shall be set by the DHO.
       testimony of the witness on tape and present it as evidence at              i. The OSC shall arrange for a verbatim transcript or recording to be
       the hearing. The OSC and the respondent(s) must be notiﬁed in                  made of all disciplinary hearings. The transcript or recording is
       advance of the date, time and place of the taping. All parties who             the property of the University of Pennsylvania and becomes part
       would be permitted to question such a witness at a hearing may                 of the record of the disciplinary proceedings.
       question the witness at the taping.                                     5. Findings and Recommendations of the Hearing Panel
4. Conduct of Hearings                                                             a. Only evidence presented at the hearing shall be considered by the
    a. Disciplinary hearings are not trials, and they are not constrained             Hearing Panel. The Hearing Panel shall presume a respondent
       by technical rules of procedure, evidence, or judicial formality.              innocent unless proven responsible for a violation by clear and
       They are designed to encourage open discussion among the                       convincing evidence. All decisions of the Hearing Panel require a
       participants that promotes the hearing panel’s understanding                   majority vote.
       of the facts, the individuals involved, the circumstances under            b. Following the hearing, the members of the Hearing Panel meet to
       which the incident occurred, the nature of the conduct, and the               discuss in private their ﬁndings, which consist of two parts: 1) a
       attitudes and experience of those involved. The rules of evidence             determination of whether the respondent is responsible for any
       applicable to legal proceedings do not apply to disciplinary                  violation; and 2) if so, a recommendation of sanction(s).
       hearings. Information, including hearsay evidence, may be
                                                                                  c. The OSC may recommend to the Hearing Panel a sanction
       considered if it is relevant, not unduly repetitious, and the sort of
                                                                                     to be imposed if the Hearing Panel ﬁnds the respondent(s)
       information on which responsible persons are accustomed to rely
                                                                                     responsible for a violation. The respondent(s) may respond
       in the conduct of serious affairs.
                                                                                     to the OSC’s proposed sanction(s). Before the Panel makes
    b. The DHO presides over all hearings and decides all questions                  its recommendation on sanctions, it shall review any previous
       about the admissibility of evidence and the conduct of                        disciplinary offenses by and sanctions against the respondent(s).
       hearings. While the DHO may be present for the Hearing Panel’s
                                                                                  d. If the Hearing Panel determines that the respondent(s) is not
       discussions to answer procedural questions, the DHO does not
                                                                                     responsible for a violation, no sanction may be recommended
       deliberate or vote with the Panel regarding its ﬁndings or its
                                                                                     against the respondent(s) and the respondent may not be subject
       recommendation of sanctions.
                                                                                     to further proceedings under this Charter on the same charge(s).
    c. Disciplinary hearings are held in private unless the respondent(s)
                                                                                  e. If the Hearing Panel ﬁnds that a student is responsible for a
       and the complainant(s) agree in writing to an open hearing.
                                                                                     violation of University rules or regulations, it shall recommend to
       The DHO may limit attendance at a hearing to ensure fair and
                                                                                     the Provost appropriate sanctions. Only the Provost (or designee),
       orderly proceedings. If a hearing is opened in accord with this
                                                                                     acting on behalf of the University, may actually impose a sanction
       procedure, the DHO may, when necessary to maintain order or
                                                                                     on a student. The Provost (or designee) shall not impose a


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       sanction until after any appeal of the Hearing Panel’s decision           form of monetary payment, property, or appropriate service (not
       has been decided by the DAO.                                              appropriate in cases of academic integrity violations).
6. Notice of Hearing Panel Decision                                              Disciplinary Probation--Disciplinary Probation may be imposed
   The Hearing Panel shall promptly transmit its decision, including its         for a speciﬁed period or indeﬁnitely (i.e., for as long as and
   ﬁndings and recommendation regarding sanctions, in writing to the             whenever a student is a full- or part-time student at the University
   DHO, the OSC, the respondent(s) and the Provost as soon as possible           of Pennsylvania). Probation may be imposed for a single
   after the end of the hearing.                                                 instance of misconduct or for repeated minor misconduct. Any
                                                                                 future misconduct or academic integrity violation by a student
G. Appealing a Hearing Panel’s Decision                                          on Disciplinary Probation, found to have occurred during the
1. The Disciplinary Appellate Ofﬁcer (DAO) has exclusive jurisdiction            probationary period, may be grounds for suspension or, in especially
   to decide appeals. Appeals are based solely on the record of the              serious instances, expulsion from the University.
   disciplinary hearing and the written submissions and responses of             Withdrawal of Privileges--Withdrawal of privileges is the denial of
   the respondent(s) and the OSC.                                                speciﬁed privileges or the ability to participate in speciﬁed activities
                                                                                 for a designated period of time.
2. Only respondent(s) may appeal the Hearing Panel’s ﬁndings of
                                                                                 Suspension--Suspension is the termination of student status and
   responsibility except where applicable laws or regulations may
                                                                                 separation from the University until a speciﬁed date. Suspension
   extend this right to complainants. Both the respondent(s) and the
                                                                                 means the loss of all rights and privileges normally accompanying
   OSC may appeal the Hearing Panel’s recommendation of sanction(s).
                                                                                 student status. While on disciplinary suspension, students may not
   An appellant must submit any appeal to the DAO in writing within 10
                                                                                 obtain academic credit at Penn or elsewhere toward completion of
   days after the Hearing Panel has rendered its opinion. The appeal
                                                                                 a University of Pennsylvania degree. Students are eligible to return
   must state in detail the speciﬁc grounds upon which it is based and
                                                                                 to the University after the speciﬁed suspension term has elapsed.
   must be sent to the OSC or respondent(s), as appropriate.
                                                                                 Suspension is imposed in instances of serious misconduct; it is
3. When the appeal is received, the OSC provides the Disciplinary                generally the minimum sanction imposed for a violation of the Code
   Appellate Ofﬁcer with a copy of the respondent’s charge letter, a             of Academic Integrity.
   copy of the Hearing Panel’s ﬁndings, a verbatim transcript or tape            Indeﬁnite Suspension--An indeﬁnite suspension is termination of
   recording of the Disciplinary Hearing, and any exhibits considered by         student status and separation from the University for an unspeciﬁed
   the panel in reaching its recommendations. The respondent and the             period, without an automatic right of return to the University as a
   OSC have ten days from the date of the appeal to submit to the DAO a          student (though speciﬁc conditions for return as a student may be
   written response to the appeal.                                               speciﬁed). When the conditions of an indeﬁnite suspension have
4. Appellate review is limited to allegations of material and prejudicial        been fulﬁlled, the student must make a formal request, as speciﬁed
   procedural error in the conduct of hearings, error in the interpretation      in the conditions, to return to student status. Indeﬁnite suspension
   or application of relevant University regulations, consideration of           is imposed in instances of extremely serious misconduct or in
   new evidence sufﬁcient to alter the Hearing Panel’s ﬁndings or                instances of continued serious misconduct following the imposition
   severity of the recommended sanctions. If the DAO ﬁnds sufﬁcient              of probation or suspension for a speciﬁed period.
   basis, he/she may reverse or modify the Hearing Panel’s ﬁndings               Expulsion--Expulsion is a permanent termination of student status
   or proposed sanctions, or may remand the disciplinary matter for              and permanent separation from the University of Pennsylvania.
   further investigation by the OSC or a new hearing before a new                Expulsion is imposed in instances of the most serious misconduct
   Hearing Panel. However, the DAO may not recommend a more                      or in instances of continued serious misconduct following the
   severe sanction(s) unless the OSC has appealed the sanction(s)                imposition of probation or suspension.
   recommended by the Hearing Panel.                                          2. In addition to the sanctions deﬁned above, students may be required
5. After considering an appeal, the Disciplinary Appellate Ofﬁcer shall          to perform a designated number of hours of University or other
   promptly issue his/her decision in writing and shall provide copies to        community service or to utilize University or other educational or
   the OSC, the DHO, the Provost, and the respondent(s).                         counseling services related to the nature of the misconduct.
                                                                              3. Sanctions may be imposed alone or in combination with other
H. Imposing Sanctions on a Student                                               sanctions. The Disciplinary Hearing Panel or the DAO may
1. Sanctions recommended against a respondent by a Hearing Panel or              recommend whether the sanctions should appear on the transcript of
   the DAO are imposed by the Provost, or his designee, and may include          a respondent, and, if so, for how long.
   any reasonable sanction, including, but not limited to, the following:
                                                                              4. After the imposition of sanctions, a faculty member involved in an
   Warning--A warning is a written admonition given by the OSC on
                                                                                 academic integrity matter shall be informed of the outcome of the
   behalf of the University in instances of minor misconduct.
                                                                                 disciplinary proceedings. If the student has been found not to be
   Reprimand --A reprimand is written censure for violation of the
                                                                                 responsible for an academic integrity violation, the instructor should
   University’s rules, regulations, or policies, given by the OSC on behalf
                                                                                 re-evaluate and assign a grade (which may differ from the grade
   of the University, which includes notice to the student that continued
                                                                                 originally assigned) based on the student’s academic performance
   or repeated conduct violations shall result in the imposition of more
                                                                                 in the course. If the student has been found responsible for an
   serious sanctions.
                                                                                 academic integrity violation, the instructor may assign any grade
   Fine--A monetary ﬁne may be levied as a disciplinary sanction and
                                                                                 the instructor deems appropriate. In the event that the student
   is payable to the Trustees of the University of Pennsylvania. (not
                                                                                 believes the ﬁnal grade is unfair or fails to take account of the
   appropriate in cases of academic integrity violations).
                                                                                 outcome of the disciplinary proceeding, the student may appeal
   Restitution--Restitution is reimbursement for the damage, loss,
                                                                                 the grade through the existing academic grievance procedure for
   or misappropriation of University, private or public property or
   compensation for injury to individuals. Restitution may take the



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   the evaluation of academic work established by each school and                  outcome of certain exceptional disciplinary matters, subject to
   academic department.                                                            the limitations imposed by law and the University’s policies on the
                                                                                   conﬁdentiality of student records and information.
I. Fulﬁlling Sanctions Imposed by the University
1. Under the Code of Student Conduct, students are required to comply          C. Disciplinary Holds
   with all disciplinary sanctions. Failure to do so constitutes a violation   At any time after the ﬁling of a complaint, the OSC, after consulting
   of the Code and is itself subject to disciplinary proceedings by the        with the student’s academic dean, may place a “Disciplinary Hold” on
   OSC.                                                                        the academic and/or ﬁnancial records of any student for the purpose
2. The OSC monitors the implementation and fulﬁllment of sanctions.            of preserving the status quo pending the outcome of proceedings,
   In performing this duty, the OSC shall have the cooperation of the          enforcing a disciplinary sanction, or ensuring cooperation with the
   Division of University Life, the respondent(s)’s dean, and other            Student Disciplinary System. A Disciplinary Hold may prevent, among
   appropriate University ofﬁces. No sanction shall be enforced while an       other things, registration, the release of transcripts, and the awarding of a
   appeal is pending.                                                          degree.


IV.C.3. Additional Matters                                                     D. Mandatory Leave of Absence and Conditional
                                                                               Attendance
A. Administration of the Disciplinary System                                   In extraordinary circumstances, when a student’s presence on campus
1. The Provost is responsible for implementation of this Charter,              is deemed by the University to be a threat to order, health, safety, or
   administrative oversight of the Student Disciplinary System, including      the conduct of the University’s educational mission, the Provost (or
   the OSC, and ensuring that the Student Disciplinary System functions        designee), in consultation with the student’s dean or associate dean, may
   fairly and in furtherance of the educational mission of the University.     place the student on a mandatory temporary leave of absence or impose
   The Provost may instruct the OSC regarding the handling of special          conditions upon the student’s continued attendance, pending a hearing
   cases, but he/she may not so instruct the DHO, the DAO, or the              of disciplinary charges. When reasonably possible, the student shall be
   members of Disciplinary Hearing Panels.                                     provided with an opportunity to be heard before a decision is made by
2. When circumstances warrant, the OSC may take such administrative            the Provost (or designee) to impose a mandatory temporary leave of
   steps as may be necessary and feasible to effect the prompt                 absence or conditions on the student’s attendance. At the respondent’s
   resolution of a disciplinary matter, including, but not limited to,         request, and where feasible, the OSC may expedite the investigation of
   tape recording the testimony of witnesses who may be unavailable            a complaint and the disciplinary hearing against a student placed on a
   at the time of hearing; making special arrangements to ensure               mandatory temporary leave of absence or conditional attendance.
   the attendance of complainants, respondents, witnesses, or other
   participants at a hearing; and scheduling hearings outside of the           E. Civil or Criminal Proceedings
   normal academic year.                                                       The University may proceed with disciplinary proceedings against
3. In any disciplinary matter in which a member of the Student                 a student under this Charter regardless of possible or pending civil
   Disciplinary System cannot perform her/his duties under this Charter,       claims or criminal charges arising out of the same or other events.
   an alternate may be designated by the Provost using the procedures          The OSC, with the concurrence of the Provost and after consultation
   appropriate to that individual’s position in the system. In addition,       with the University’s General Counsel, shall determine whether to
   when the Provost determines that circumstances warrant, such                proceed with charges against a student who also faces related charges
   as (but not limited to) when a conflict of interest or a particularly       in a civil or criminal tribunal. If the University defers proceeding with
   complex or controversial disciplinary matter arises, the Provost            disciplinary charges against a student in light of related charges in a civil
   may appoint a special OSC staff member, a special Disciplinary              or criminal tribunal, the University may at any subsequent time proceed
   Hearing Ofﬁcer, or a special Disciplinary Appellate Ofﬁcer using the        with disciplinary proceedings against that student under this Charter
   procedures appropriate to the position.                                     irrespective of the time provisions set forth in this Charter.

B. Reports to the University Community                                         F. Disciplinary Records
1. Subject to the limitations imposed by law and the University’s policies     1. Maintenance of Records
   on the conﬁdentiality of student records and information, the OSC,             Except as may be otherwise provided by applicable law, records of
   in consultation with the Provost, the University Conduct Council, and          all complaints, disciplinary proceedings, mediations, and voluntary
   the University Honor Council, shall make periodic reports to inform            agreements to sanctions are maintained by the OSC in accordance
   the University community about the character and extent of the                 with the University’s Protocols for the University Archives and
   work of the Disciplinary System, including the nature of violations            Records Center and University policies on the conﬁdentiality and
   of University rules and regulations and the sanctions imposed. The             maintenance of student records.
   reports of the OSC shall deal both with disciplinary matters that go        2. Conﬁdentiality
   to hearing and with disciplinary matters that are resolved before              Except as may be otherwise provided by applicable law, all
   hearing, and shall include such information as the total number                disciplinary proceedings, the identity of individuals involved in
   of disciplinary matters handled during the preceding year broken               particular disciplinary matters, and all disciplinary ﬁles, testimony,
   down by type of resolution (e.g., mediation, voluntary agreement               and ﬁndings are conﬁdential, in accordance with University policies
   to sanctions, hearing), by type of violation, by type of sanction(s)           and federal law concerning the conﬁdentiality of student records.
   imposed, and by whether or not the respondent(s) were found                    However, no provision of this Charter or the University’s own
   responsible for a violation.                                                   conﬁdentiality shall be interpreted as preventing a student from
2. With the approval of the Provost, the OSC may also make                        seeking legal advice.
   extraordinary reports to the University community concerning the            3. Violation of Conﬁdentiality


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102       IV.C. Charter of the University Student Disciplinary System



      Failure to observe the requirement of conﬁdentiality of a disciplinary   They also apply to all graduate students in the Annenberg School for
      hearing by any member of the University community, other than            Communication, the School of Arts and Sciences, the School of Design,
      the respondent, constitutes a violation of University rules and may      the Graduate School of Education, the Nursing School and the School of
      subject the individual to the appropriate procedures for dealing         Social Policy and Practice and to Ph.D. students in the Wharton School. MBA
      with such violations. The respondent may disclose conﬁdential            students in the Wharton School are covered by their own code of conduct.
      information pertaining to him/herself, but may not violate the
      conﬁdentiality of others. If the respondent discloses, causes to         The Schools of Law, Medicine, Dental Medicine and Veterinary Medicine have
      be disclosed, or participates in the disclosure of information that      their own codes and disciplinary systems, as does the Biomedical Graduate
      is conﬁdential, any person whose character or integrity might            Studies program.
      reasonably be questioned as a result of such disclosure shall have
      the right to respond in an appropriate forum, limited to the subject     IV.C.4. Student Disciplinary Procedures
      matter of the initial disclosure.
                                                                               for Resolving Complaints of Sexual
G. Release of Information on Disciplinary Proceedings                          Assault, Sexual Violence, Relationship
                                                                               Violence and Stalking
                                                                                                                       1
1. To provide students involved in disciplinary matters with appropriate
   liaison with their school ofﬁces in regard to their academic work,
   the dean or appropriate associate dean of the school(s) of the              (Source: Ofﬁce of the Provost, Almanac, January 27, 2015
   respondent(s) shall be conﬁdentially-informed when a complaint is           (https://almanac.upenn.edu/archive/volumes/v61/n20/
   ﬁled, when a sanction is imposed, or when a disciplinary complaint          pdf/012715supplement.pdf))
   is otherwise resolved by the Student Disciplinary System. When a
   sanction is imposed, the Director of Career Planning and Placement          Introduction
   may be informed by the OSC if the sanction(s) is reportable outside         The University of Pennsylvania is committed to providing a safe and
   the University. When a transcript notation is required as part of a         healthy environment, free of gender-based misconduct, to all members of
   sanction, the University Registrar is also informed and required to         our community and visitors to our community. As such, sexual assault,
   implement the sanction as directed by the OSC on behalf of the              sexual violence, relationship violence, and stalking will not be tolerated.
   Provost.                                                                     In order to ensure the creation of a climate where students are able to
2. As required by law, in disciplinary matters involving allegations of        thrive and achieve their full potential, the University has developed a wide
   sexual offenses, the complainant(s) shall be informed of the outcome        range of policies, educational programs, broad-based resources, support,
   of disciplinary proceedings, including voluntary agreements to              and reporting systems. This amendment to the Student Disciplinary
   sanctions.                                                                  Charter supplements these other policies and initiatives, addressing the
                                                                               process by which complaints against an enrolled University student for
H. Reportability of Sanctions                                                  a violation of the Sexual Violence, Relationship Violence and Stalking
                                                                               Policy (“Sexual Violence Policy”) will be adjudicated and resolved.
1. Subject to applicable law and the University’s policies on the
   conﬁdentiality of student records and information, any disciplinary
   sanction may be reportable outside the University of Pennsylvania,
                                                                               Conﬁdentiality
   subject to speciﬁc policies governing the reporting of sanctions            Conﬁdentiality is of critical importance in ensuring that these sensitive
   adopted by the Council of Undergraduate Deans for undergraduate             matters are handled appropriately. The University has an obligation to
   students and the Council of Graduate Deans for graduate and                 address complaints with respect to the violation of the Sexual Violence
   professional students.                                                      Policy as fairly and expeditiously as possible as soon as it becomes
                                                                               aware of an allegation that the Policy has been violated. To that end,
2. Resolution of disciplinary charges by voluntary agreement to
                                                                               if any University ofﬁcial is informed of an allegation that the Policy has
   sanctions is treated like a ﬁnding of responsibility and is reportable
                                                                               been violated, the University is required to respond, unless the informed
   in the same manner as sanctions imposed following a Disciplinary
                                                                               ofﬁcial is serving in a privileged capacity (designated conﬁdential
   Hearing.
                                                                               resource, therapists, clergy, or medical providers).

I. Amendment of the Charter                                                    The response to the complaint, however, including seeking a resolution
Amendments to this Charter may be recommended by the University                under this procedure, should be treated as conﬁdential, to the extent
Honor Council, the Ofﬁce of Student Conduct, University Council, Faculty       consistent with the requirements of law. University staff and faculty
Senate Executive Committee, or other appropriate members of the                may share information with others who have a legitimate need to know
University community and proposed by the Provost. Amendments take              in order to fairly and effectively address complaints, but the information
effect upon the approval of the Council of Deans, except that the Council      should be considered conﬁdential and should be protected to the extent
of Deans may at its discretion refer proposed amendments to the deans          possible consistent with legal obligations. Such administrators may
and faculties of the individual schools for approval.                          include, for example, the Ofﬁce of the Vice Provost for University Life,
                                                                               the Ofﬁce of the Sexual Violence Investigator, the Title IX Ofﬁcer, Public
Applicability of the New Code and System                                       Safety, the Ofﬁce of General Counsel, Counseling and Psychological
                                                                               Services, Student Health, and academic advising ofﬁces.
The Code of Academic Integrity and the Charter of the Student Disciplinary
System apply to all undergraduates in the School of Arts and Sciences,
including the College of Liberal and Professional Studies; the School of
Engineering and Applied Science; the Nursing School; and the Wharton
School.




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and Almanac, May 18, 1993; revised, Personnel Policy Manual Policy 201,       C. The individual shall sign a log indicating the date of the inspection of
March 29, 2005 (https://www.hr.upenn.edu/policies-and-procedures/                the records.
policy-manual/other-policies/conﬁdentiality-of-records/))                     D. If necessary, an individual may request copies of his/her records.
                                                                                 There is no charge for copies of records referred to in the
To insure conﬁdentiality, uniformity, and accuracy of personnel
                                                                                 Occupational Health and Safety Act (OSHA) standards for access to
information, it is the responsibility of Division of Human Resources/
                                                                                 medical records; for other records a reasonable charge may be made
Information Management/Records (HR/IM/Records) to handle all
                                                                                 for reproduction costs.
inquiries, other than subpoenas, which require reference to documentary
records concerning past and present staff of the University. Responses
to the subpoenas are handled by the Ofﬁce of the General Counsel.             Correction of Records
Inquiries received by other ofﬁces should be referred to HR/IM/Records.       If an individual considers a record to be misleading, if it contains a
All subpoenas and inquiries from lawyers should be referred to the Ofﬁce      statement of fact that can be shown to be erroneous, or if it contains
of the General Counsel.                                                       information that is not relevant, a correction may be requested.

Personnel records, including those established in connection with the         The request must be submitted in writing to HR/IM/Records.
selection process, are University property and are afforded conﬁdential
treatment at all times.                                                       A request for correction of information such as date of birth must be
                                                                              accompanied by supporting documentation, for example, birth certiﬁcate
Individually identiﬁable personal information contained in computerized       or passport. The designated custodian of the records may consult the
databases, whether maintained centrally or by schools, departments or         Provost (or designee) or the Vice President for Human Resources (or
other units, is afforded the same conﬁdential treatment that applies to       designee), as appropriate. On the basis of this consultation, the custodian
written records.                                                              should make the correction or indicates the reason why the request is
                                                                              denied.
The Provost (or designee) shall administer this policy with respect to the
records of faculty members. The Vice President for Human Resources            If a correction is sought on an appropriate ground but is denied, the
(or designee) shall administer the policy with respect to the records         individual involved may submit for inclusion in the ﬁle a short statement
of staff members. Deans and directors shall notify the Provost or the         explaining the grounds for the request and the correction sought. The
Vice President for Human Resources, as appropriate, of the name of the        Provost or the Vice President for Human Resources may submit a
individual who shall serve as custodian for personnel records maintained      counterstatement, a copy of which is sent to the affected individual. Both
in their areas of responsibility.                                             statement and counterstatement shall be placed in the Personnel Record.


Exceptions                                                                    Limitations on Review of Records
This policy does not cover disclosures of information that are made on        To protect against inappropriate disclosure of conﬁdential information,
the basis of personal knowledge or recollection.                              certain records, including those containing conﬁdential information
                                                                              about more than one individual and medical records, are not open to
This policy does not apply to applicants for employment unless they are       review by an individual who is a subject of the record. These records are
subsequently hired.                                                           maintained separately from other beneﬁts records and may be available
                                                                              under separate policies or practices applicable to all recipients of care
Access to Records                                                             at the Hospital of the University of Pennsylvania or elsewhere at the
Both active and retired members of the faculty and staff shall have the       University.
right of access to their records as described in this policy.
                                                                              Individuals may not review the following:
Individuals who are on leave of absence or whose employment has been
                                                                                • records that contain conﬁdential information about other people;
terminated for reasons other than retirement with reemployment rights
                                                                                • all letters of recommendation relating to the consideration of a
shall have the right of access.
                                                                                  faculty member for appointment, re-appointment, promotion or
Legal representatives of deceased faculty and staff members shall have            tenure, or staff member for employment, unless released by written
the right of access for ﬁve years after the death of the individual.              consent of the author;
                                                                                • documents including records concerning beneﬁts that are being
Exceptions to the above may be granted by the Provost or the Vice                 developed or prepared for use in civil, criminal or grievance
President for Human Resources.                                                    procedures;

Review of Records                                                               • records relating to the investigation of a possible criminal offense;
                                                                                • medical and hospital records.
A. An individual may review his/her records by making an appointment
   with HR/IM/Records during regular business hours. HR/IM/Records
   shall assure that references to others that may be contained in the
                                                                              Records That May Be Disclosed to Third
   ﬁle are deleted for the purpose of the review. (For exceptions please      Parties
   refer to “Limitations on Review of Records,” which follows later in this   Information contained in personnel records may be disclosed by the
   policy.)                                                                   University without the written consent of the subject of the record when
B. The review shall take place in the ofﬁce where the records are             the Provost or Vice President for Human Resources concludes that a
   maintained and in the presence of a designated staff member of HR/
   IM/Records.


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118     V.C. Conﬁdentiality of Health Information under HIPAA



constructive purpose would be served or when required by law in the
judgment of the Ofﬁce of the General Counsel.
                                                                              Record Retention Requirements
                                                                              Records shall be maintained for the period speciﬁed by state or federal
Unless speciﬁcally excepted from this policy, the content of personnel        law, or longer at the direction of the Provost, the Vice President for
records may not be disclosed to third parties without the express written     Human Resources, the University Archivist or the General Counsel.
permission of the individual who is the subject of the record. The written
permission must describe speciﬁcally the records to be disclosed and the      Records                                Years
persons to whom they are to be disclosed.                                     Afﬁrmative Action records              7 years
                                                                              Information Management/Records 5 years after death
Except for disclosures of directory information and as required by law, the
University shall notify any third party to whom disclosures are made that     Medical records relating to job        30 years beyond termination date
disclosures are made under the condition that the party shall not make        qualiﬁcation
any redisclosure of the information without the written consent of the        Records relating to faculty            5 years after death
subject of the record.                                                        appointment or promotion
                                                                              Grievance records                      5 years after death
Certain substantive categories of information may be disclosed:
                                                                              Public Safety Records                  5 years after death
                                                                                        1
1. Penn makes certain directory information available to its staff,           Payroll                                7 years
   faculty, and students – and a more limited set of information              Occupational Safety and Health Act 30 years
   available to the general public – so that the ordinary University          (OSHA) records of exposure to toxic
   business can be conducted. In some cases, individuals may "opt-                       1
                                                                              substances
   out" of having certain data appear. In other cases involving more          Applications (unsuccessful             2 years
   personal information, such as home contact information, individuals        canidates)
                                                                                        1
   may "opt-in" to having their data appear. Also, individuals can often
   list organizational contact information, rather than personal contact      1
                                                                                  Payroll, OSHA records and applications are retained according to this
   information, in their directory entries. For more information on               schedule and are not dependent on employment status.
   the levels of control individuals can exercise over their directory
   information in disclosures to Penn's faculty, staff and students and to
   the general public, see Appendix I., Directory Information Privacy Grid    The Department of Public Safety and the Hospital of the University of
   (https://www.hr.upenn.edu/policies-and-procedures/policy-manual/           Pennsylvania shall develop their own record retention policies for security
   other-policies/conﬁdentiality-of-records/directory-information-            records and medical records.
   privacy-grid/).
2. Authorized Individuals: Personnel records may be disclosed to              V.C. Conﬁdentiality of Health
   University ofﬁcials, and authorized individuals performing work for
   the University who require the information for the performance of
                                                                              Information under HIPAA
   their duties.                                                              (Ofﬁce of Audit, Compliance and Privacy, 2006; revised, 2009)
3. Legal Requirements: The University may release personnel records
   in response to a lawful subpoena, warrant, or court order or if, in the    All faculty members at the University of Pennsylvania should respect
   opinion of the Ofﬁce of the General Counsel, such records could be         the privacy and security of personal health information. Personal health
   required by law to be produced for any reason, including disclosure to     information may be used for appropriate patient care, teaching, and
   a government agency. Whenever possible, notice of disclosure shall         research purposes, consistent with applicable University policy. Further,
   be given in advance through the Almanac for general categories of          faculty should take reasonable steps to safeguard personal health
   personnel records or by mail for individual records.                       information from unauthorized access, use, and disclosure.

4. Protection of University Interests: The University may disclose            Under the Health Insurance Portability and Accountability Act (HIPAA),
   information contained in records to protect its legal interest when it     certain schools and centers within the University must comply with
   believes the actions of an individual violate or have violated his/her     a number of regulatory requirements that have been incorporated
   conditions of employment or threaten injury to people or property          into speciﬁc policies addressing the privacy and security of health
5. Collective Bargaining Agreements: Information may be disclosed as          information. Faculty members within the Perelman School of Medicine,
   required under the terms of a collective bargaining agreement.             the School of Dental Medicine, and faculty practicing at the Student
6. Emergencies: Information may be disclosed if, in the judgment of           Health Service and Living Independently for Elders (collectively, “HIPAA-
   the designated custodian of HR/IM/Records, such disclosure is              Covered Faculty”) should refer to and follow HIPAA privacy and security
   necessary to protect the health, safety or property of any person.         policies and procedures established for their schools and centers.


Exemption to Third Party Disclosure                                           HIPAA-Covered Faculty must abide by the following HIPAA requirements:


Policy                                                                        1. HIPAA-Covered Faculty must receive training on policies and
                                                                                 procedures implementing HIPAA and abide by such policies and
The Ofﬁce of Afﬁrmative Action, Division of Human Resources and Ofﬁce            procedures;
of the General Counsel are exempted from the above section, “Records
                                                                              2. In general, HIPAA-Covered Faculty may not use and/or disclose
That May be Disclosed to Third Parties.”
                                                                                 personal health information without the patient’s signed HIPAA-
                                                                                 compliant authorization, except that:




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128      V.H. Policy on Acceptable Use of Electronic Resources



general public to support the educational, research and service missions          • Compliance with all applicable laws, regulations, and University
of the University.                                                                  policies;
                                                                                  • Truthfulness and honesty in personal and computer identiﬁcation;
When demand for computing resources may exceed available capacity,
                                                                                  • Respect for the rights and property of others, including intellectual
priorities for their use will be established and enforced. Authorized faculty
                                                                                    property rights;
and staff may set and alter priorities for exclusively local computing/
networking resources. The priorities for use of University-wide computing         • Behavior consistent with the privacy and integrity of electronic
resources are:                                                                      networks, electronic data and information, and electronic
                                                                                    infrastructure and systems; and
Highest: Uses that directly support the educational, research and service         • Respect for the value and intended use of human and electronic
missions of the University.                                                         resources.
Medium: Other uses that indirectly beneﬁt the education, research and           Enforcement and Penalties for Violation: Any person who violates any
service missions of the University, as well as and including reasonable         provision of this policy, of the Speciﬁc Rules interpreting this policy, of
and limited personal communications.                                            other relevant University policies, or of applicable City, State, or Federal
                                                                                laws or regulations may face sanctions up to and including termination or
Lowest: Recreation, including game playing.
                                                                                expulsion. Depending on the nature and severity of the offense, violations
Forbidden: All activities in violation of the General Standards or prohibited   can be subject to disciplinary action through the Student Disciplinary
in the Speciﬁc Rules interpreting this policy.                                  System or disciplinary procedures applicable to faculty and staff.

The University may enforce these priorities by restricting or limiting          It may at times be necessary for authorized systems administrators
usages of lower priority in circumstances where their demand and                to suspend someone’s access to University computing resources
limitations of capacity impact or threaten to impact usages of higher           immediately for violations of this policy, pending interim resolution
priority.                                                                       of the situation (for example by securing a possibly compromised
                                                                                account and/or making the owner of an account aware in person that an
Implied consent                                                                 activity constitutes a violation). In the case of egregious and continuing
                                                                                violations suspension of access may be extended until ﬁnal resolution by
Each person with access to the University’s computing resources                 the appropriate disciplinary body.
is responsible for their appropriate use and by their use agrees to
comply with all applicable University, School, and departmental policies        System owners, administrators or managers may be required to
and regulations, and with applicable City, State and Federal laws and           investigate violations of this policy and to ensure compliance.
regulations, as well as with the acceptable use policies of afﬁliated
networks and systems (See Appendices to Speciﬁc Rules).                         Amendment
Open Expression in the Electronic Information Environment: The rights           Formal amendment of the General Standards of Acceptable Use of
to freedom of thought, inquiry and expression, as deﬁned in the                 Computing Resources or other aspects of this policy may be promulgated
University’s Guidelines on Open Expression (http://catalog.upenn.edu/           by the Provost following consultation with the University Council
pennbook/open-expression/), are paramount values of the University              Committee on Communications, publication “For Comment” in Almanac, a
community. The University’s commitment to the principles of open                reasonable waiting period, and publication “Of Record” in Almanac.
expression extends to and includes the electronic information
environment, and interference in the exercise of those rights is a              Interpreting this Policy
violation of this policy and of the Guidelines on Open Expression (http://      As technology evolves, questions will arise about how to interpret
catalog.upenn.edu/pennbook/open-expression/). As provided in the                the general standards expressed in this policy. The Vice President for
Guidelines (http://catalog.upenn.edu/pennbook/open-expression/),                Information Systems and Computing shall, after consultation with the
in case of conflict between the principles of the Guidelines on Open            University Council Committee on Communications, and subject to the
Expression (http://catalog.upenn.edu/pennbook/open-expression/) and             same waiting period and publication provisions as above, publish speciﬁc
this or other University policies, the principles of the Guidelines (http://    rules interpreting this policy.
catalog.upenn.edu/pennbook/open-expression/) take precedence.

General Standards for the Acceptable Use of Computer Resources: Failure         Waiver
to uphold the following General Standards for the Acceptable Use of             When restrictions in this policy interfere with the research, educational or
Computer Resources constitutes a violation of this policy and may be            service missions of the University, members of the University community
subject to disciplinary action.                                                 may request a written waiver from the Vice President for Information
                                                                                Systems and Computing (http://www.upenn.edu/computing/isc/) (or
The General Standards for the Acceptable Use of Computer Resources              designee).
require:

  • Responsible behavior with respect to the electronic information             Further Information
    environment at all times;                                                   For further information about University computing regulations or
  • Behavior consistent with the mission of the University and with             Commonwealth of Pennsylvania and Federal computing laws, contact the
    authorized activities of the University or members of the University        University Information Security Ofﬁcer at (215) 898-2172 or send email to:
    community;                                                                  security@isc.upenn.edu.
  • Respect for the principles of open expression;



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VI.A. Use of University Name Policy                                           approve uses which recognize or acknowledge the sponsor’s contribution
                                                                              to the University program or activity. Uses which, in the Secretary’s
(Source: Ofﬁce of the Secretary, 1969 Handbook for Faculty and                judgment, may suggest University endorsement or approval of the
Administration; revised, Almanac, October 14, 1997; revised, Almanac, May     sponsor’s goods or services will not be permitted.
16, 2000; revised, Almanac, October 24, 2017 (https://almanac.upenn.edu/
uploads/media/102417.pdf))                                                    Private Use
                                                                              University faculty, staff and students may refer to their afﬁliation
On September 30, 1791, an act conﬁrmed an agreement which united
                                                                              or status with the University in connection with personal activities,
the University of the State of Pennsylvania with the College, Academy
                                                                              including consulting, provided that the afﬁliation or status is accurately
and Charitable School and provided that the name of the institution
                                                           1                  represented and any title or position is accurately identiﬁed, and provided
would be “The Trustees of the University of Pennsylvania.” To facilitate
                                                                              that such use does not imply University endorsement of the activity. In
communication both internally and externally, the institution’s name is
                                                                              some cases, a disclaimer of University endorsement may be required.
commonly simpliﬁed as the “University of Pennsylvania,” or, more recently,
                                                                              (See, for example, Handbook for Faculty and Academic Administrators,
“Penn.”
                                                                              section II.E.10 (p. 38)). Use of University insignia in connection with
The University regulates use of its name, the names of its schools            personal activities is prohibited. The University’s name must not be used
and programs, its shield and related insignia, trademarks and logos           in any announcement, advertising matter, publication, correspondence, or
(“insignia”) to ensure that such use is related to the University’s           report in connection with personal or non-University activities if such use
educational, service and research missions and promotes its objectives.       in any way could be construed as implying University endorsement of or
Responsibility for overseeing use of the University’s names and insignia      responsibility for any project, product, or service.
lies with the Secretary of the University.
                                                                              Related Policies
Ofﬁcial Use                                                                   All faculty, staff and students are reminded that University equipment,
When representing the University in an ofﬁcial capacity, all units of         stationery, campus mail service, and electronic media are to be used
the University and members of the faculty and administration must             solely for University business by authorized University personnel and by
use “University of Pennsylvania” in their publications and documents.         ofﬁcially recognized campus organizations. See Human Resources Policy
Approved University stationery must be used for ofﬁcial correspondence.       No. 003 (https://www.hr.upenn.edu/policies-and-procedures/policy-
                                                                              manual/other-policies/uses-of-university-resources/). Additional
University names and insignia may be used in connection with any              information on faculty and staff involvement in extramural activities
academic University program provided that the program has been                and organizations can be found in the Conflict of Interest Policy for
approved in advance by the responsible department chair and dean or           Faculty Members, and Human Resources Policy Nos. 005 (https://
director, and Provost, as appropriate. University units, faculty, staff and   www.hr.upenn.edu/policies-and-procedures/policy-manual/other-
student organizations that wish to use University names or insignia in        policies/conflict-of-interest/) and 006 (https://www.hr.upenn.edu/policies-
connection with any non-academic University program, activity, service or     and-procedures/policy-manual/other-policies/guidelines-for-extramural-
product must obtain the approval of the Secretary of the University before    activities-associations-and-interest-for-staff/).
proceeding. Requests to use University names or insignia must ﬁrst be
                                                                              1
presented to the appropriate department chair and dean, director, or, in          Statutes of the Trustees of the University of Pennsylvania, p. 1.
the case of student organizations, to the Vice Provost for University Life,
for review. If approved by the dean, director, or Vice Provost, a request
with supporting information must be submitted to the Secretary for            VI.B. Acceptance of Gifts, Grants and
review. The Secretary will review the proposed use and determine, in
consultation with appropriate colleagues, whether it is properly related to   Contracts
the University’s missions and whether the beneﬁts of the proposed use         (Source: Ofﬁces of the President and Provost, Almanac, March 21, 1978;
outweighs any risks associated with the use. The Secretary may approve        revised, Almanac, May 23, 1978 (https://almanac.upenn.edu/archive/
the proposed use, with or without conditions, or disapprove the proposed      v24pdf/n32/052378.pdf))
use.
                                                                              The University of Pennsylvania enjoys ﬁnancial support for its programs
Licensed Uses by Outside Entities                                             of instruction and research from many sources, public and private;
                                                                              faculty and staff are encouraged to pursue such support with vigor.
University names or insignia may be used on products or in connection
                                                                              Programs undertaken with the aid of external funding must, however, be
with services offered by outside entities only under license from the
                                                                              fully consonant with the standards, character and responsibilities of the
University. Requests for such licenses are processed jointly through the
                                                                              University. Conditions for the acceptance of gifts, grants and contracts
Ofﬁce of the Vice President for Business Services (“Business Services”)
                                                                              include:
and the Penn Center for Innovation (“PCI”), and with guidance from the
Ofﬁce of the University Secretary.                                            1. That the purposes to be served are academically worthy, are in
                                                                                 accord with the needs and priorities of the University, and are not
Outside sponsors of University programs or activities often seek to use
                                                                                 impediments to the achievement of other academically worthy aims
University names or insignia in promotional or advertising materials.
                                                                                 or programs;
While the University is pleased to recognize the contributions of
sponsors, such recognition must not suggest University endorsement of         2. That there are no conditions attached to the gift, grant or contract
the sponsor’s activities. Therefore, University names or insignia may not        that would in any way jeopardize the University’s commitment to the
be used in connection with any outside entity’s name or logo without prior       principles of academic freedom and nondiscrimination;
approval of the Secretary of the University. In general, the Secretary will


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138      VI.E-F. Sexual Misconduct Policy, Resource Ofﬁces and Complaint Procedures



a report, refer to the Clery Act & Crime Reporting page at https://            in a social, sexual or romantic relationship, past or present, with the
www.publicsafety.upenn.edu/clery/.                                             victim. Relationship violence can encompass a broad range of behaviors
                                                                               that may include physical violence, sexual violence, emotional violence
I. Sexual Harassment, Sexual Violence,                                         and economic violence.

Relationship Violence, and Stalking Policy                                     Domestic violence is deﬁned as abuse committed against an adult who
All forms of sexual harassment, sexual violence, relationship violence and     is a spouse, former spouse, cohabitant, someone with whom the person
stalking and attempts to commit such acts are considered to be serious         has a child, someone with whom the person has an existing dating or
misconduct and may result in disciplinary action up to and including           engagement relationship, or someone with whom the person had a dating
expulsion or termination of employment. In addition, such acts may             or engagement relationship in the past.
violate federal, state and local laws and perpetrators of such acts may
                                                                               Stalking means engaging in a course of conduct directed at
be subject to criminal prosecution. This policy, which prohibits behaviors
                                                                               speciﬁc person(s) that would cause a reasonable person to fear for their
that are more generally addressed by the University’s Sexual Misconduct
                                                                               safety, the safety of others, or to suffer substantial emotional distress.
Policy, applies to faculty, postdoctoral and other trainees, students, staff
and visitors to the University campus and facilities.                          In determining whether the alleged conduct violates this policy,
                                                                               consideration will be given to the totality of the circumstances, including
Sexual Harassment
                                                                               the nature of the conduct and the context in which the alleged incident
For the purposes of University policy, the term “sexual                        occurred. Generally, complaints of sexual harassment, sexual violence,
              1
harassment” refers to any unwanted conduct that is based on an                 relationship violence and stalking are made by members of the University
individual’s sex, sexual orientation, gender identity, or gender expression    community and those made by individuals who are not students, faculty,
and that:                                                                      staff, postdoctoral or other trainees, or alumni will be directed to external
                                                                               resources available to respond to their complaint or provide support and
  • Conditions an educational or employment beneﬁt on participation in         advice.
    unwelcome sexual conduct; or
                                                                               The University regards such behavior as a violation of the standards of
  • A reasonable person would determine is so severe, pervasive, and/or
                                                                               conduct required of all members of its community. Accordingly, as noted
    objectively offensive that it effectively denies a person equal access
                                                                               in the University’s Handbook for Faculty and Academic Administrators,
    to an educational or employment program or activity.
                                                                               Human Resources Policy Manual, Pennbook and other publications,
Sexual violence includes a range of behaviors in which an act of a sexual      persons engaged in such behavior are subject to the full range of internal
nature is taken against another individual without that person’s consent       disciplinary actions, including separation from the institution. The same
or when the individual is unable to consent. There are various types of        range of disciplinary actions will be applied in the event of retaliation
sexual violence, including but not limited to sexual assault and rape          against an individual who in good faith makes an allegation of sexual
(deﬁned below).                                                                misconduct, who cooperates in an investigation into such allegations, or
                                                                               who opposes any act of sexual misconduct as deﬁned in this policy.
Sexual assault (including but not limited to rape) is deﬁned as having
committed any of the following acts:                                           Not every act that might be offensive to an individual or a group
                                                                               necessarily will be considered a violation of the University’s standards of
  • Any physical sexual contact that involves the use or threat of force       conduct. In determining whether an act constitutes sexual misconduct,
    or violence or any other form of coercion or intimidation.                 the totality of the circumstances surrounding the conduct must be
  • Any physical sexual contact with a person who is unable to consent         carefully reviewed. Due consideration must be given to the protection of
    due to incapacity or mental or physical impairment. “Incapacity” or        individual rights, open expression, and academic freedom.
    “impairment” include but are not limited to being under the influence
    of alcohol or drugs or being too young to consent.                         A. Resources
                                                                               Schools, centers and administrative divisions should make known to
Rape is deﬁned as sexual assault involving an act of penetration (and          all of their members the available resource ofﬁces for information,
includes such assaults when the individuals know one another).                 counseling and support, as well as the informal and formal procedures for
                                                                               resolving complaints of sexual harassment within the appropriate school,
Non-forcible sex acts include unlawful sex acts where consent is
                                                                               center, division, or at the University level. These resources include the
not relevant, such as sexual contact with an individual under the
                                                                               following:
statutory age of consent as deﬁned by Pennsylvania law.

Consent is an afﬁrmative decision to engage in mutually agreed
                                                                               1. CONFIDENTIAL RESOURCES FOR INFORMATION, COUNSELING
upon sexual activity and is given by clear words or actions. Consent
                                                                               AND SUPPORT
                                                                               Resource ofﬁces are available to assist members of the Penn community
may not be inferred from silence, passivity or lack of resistance alone.
                                                                               and visitors to the campus who have been, or know someone who has
Furthermore, consent to one form of sexual activity does not imply
                                                                               been, the victim of sexual violence, relationship violence or stalking. The
consent to other forms of sexual activity and the existence of a current
                                                                               staff of these ofﬁces are available to provide counseling and support, as
or previous dating, marital or sexual relationship is not sufﬁcient
                                                                               well as information about and assistance with making a complaint.
to constitute consent to additional sexual activity. Assent shall not
constitute consent if it is given by a person who, because of youth,           Generally, the information shared with conﬁdential resources will
disability, intoxication or other condition, is unable to lawfully consent.    be held in conﬁdence, consistent with the University’s obligation to
                                                                               address complaints of sexual misconduct, unless the person sharing
Relationship violence, also commonly known as dating violence,
                                                                               the information gives their consent to the disclosure of that information.
is deﬁned as an act or a pattern of abuse committed by a person involved
                                                                               Non-identifying information regarding complaints should be provided

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to the AVP for purposes of assuring compliance with Title IX and other        involves a possible violation of the Sexual Harassment, Sexual Violence,
applicable laws and regulations. Conﬁdential resources are not obligated      Relationship Violence and Stalking Policy, then the AVP will direct the
to share identifying information with the AVP when an incident of             process in accordance with the Procedures for Resolving Complaints of
sexual misconduct is shared with them. However, the commitment to             Sexual Misconduct Against Faculty. If a determination is made that the
conﬁdentiality does not preclude the sharing of information among             complaint involves a possible violation of the Consensual Romantic and
University administrators as appropriate to keep members of the               Sexual Relationships in the Workplace and Educational Settings Policy,
University community safe. In addition, conﬁdential resources should          then the AVP will oversee the formal or informal resolution process(es),
submit non-identifying information about incidents of sexual misconduct       advising the Dean of the applicable school that a complaint has been
to the Division of Public Safety for the purpose of crime statistics          made and discussing any interim measured that may be needed. In either
reporting under the Clery Act. (For additional information regarding          case, for Standing Faculty, the Procedure Governing Sanctions Taken
requirements, see the Clery Act & Crime Reporting page at https://www.        Against Members of the Faculty, Handbook for Faculty and Academic
publicsafety.upenn.edu/clery/.) The University’s conﬁdential resources        Administrators, Part II.E.16, will be followed where applicable.
are:.
                                                                              Complaints Against Staff
  • African-American Resource Center (http://www.upenn.edu/                   Any member of the University community visitor to campus or a
    aarc/) (resource for students, staff or faculty)                          participant in a University-sponsored activity may bring a complaint
  • Employee Assistance Program (https://www.hr.upenn.edu/myhr/               of sexual harassment, sexual violence, relationship violence, stalking
    worklife/healthy/eap/) (resource for staff or faculty)                    or inappropriate romantic or sexual relationships in the workplace or
                                                                              educational setting, against a staff member. The complaint should be
  • Lesbian Gay Bisexual Transgender Center (http://
                                                                              made to the AVP who will meet with the complainant and coordinate
    www.vpul.upenn.edu/lgbtc/) (resource for students, staff or faculty)
                                                                              with the Ofﬁce of Staff and Labor Relations in the Division of Human
  • Ofﬁce of the University Chaplain (http://www.upenn.edu/                   Resources, as appropriate. If a determination is made that the complaint
    chaplain/) (resource for students, staff, faculty, postdoctoral and       involves a possible violation of the Sexual Harassment, Sexual Violence,
    other trainees, or visitors)                                              Relationship Violence and Stalking Policy, then the AVP will direct the
  • Ofﬁce of the Ombuds (http://www.upenn.edu/ombuds/) (resource for          process in accordance with the Procedures for Resolving Complaints of
    students, staff, faculty, postdoctoral and other trainees, or visitors)   Sexual Misconduct Against Staff or the applicable collective bargaining
  • Penn Violence Prevention (https://secure.www.upenn.edu/vpul/              agreement. If a determination is made that the complaint involves a
    pvp/) (resource for students)                                             possible violation of the Consensual Romantic and Sexual Relationships
  • Penn Women’s Center (http://www.vpul.upenn.edu/pwc/) (resource            in the Workplace and Educational Settings Policy, the AVP will oversee
    for students, staff or faculty)                                           the formal or informal resolution process(es), advising the Dean, Vice
                                                                              President, or Vice Provost of the applicable administrative division that a
  • Special Services Department (https://www.publicsafety.upenn.edu/
                                                                              complaint has been made and discussing any interim measured that may
    about/special-services/), Division of Public Safety (resource for
                                                                              be needed.
    students, staff, faculty, postdoctoral and other trainees or visitors)
  • Student Health and Counseling (http://www.vpul.upenn.edu/                 Complaints Against Enrolled Students
    shs/) (including its Sexual Trauma Treatment Outreach and                 Any member of the University community, a visitor to campus, or a
    Prevention Team, also known as STTOP; resource for students)              participant in a University-sponsored activity may bring a complaint
                                                                              of sexual harassment, sexual violence, relationship violence, stalking
2. INFORMAL AND FORMAL MECHANISMS FOR COMPLAINT                               or inappropriate romantic or sexual relationships in the workplace
RESOLUTION                                                                    or educational setting against an enrolled student. The complaint
If both parties agree and the AVP deems it to be an appropriate instance      should be directed to the AVP who will oversee the investigative and
for an informal resolution of a complaint, the AVP (or the AVP’s designee)    resolution\ process(es). If a determination is made that the complaint
will meet with the parties individually, and others as appropriate, in an     involves a possible violation of the Sexual Harassment, Sexual Violence,
effort to resolve the complaint. When informal resolution is not chosen,      Relationship Violence and Stalking Policy, then the AVP will direct the
one of the parties is not satisﬁed with the results, or the proposed          process in accordance with the Student Disciplinary Procedures for
resolution is not appropriate, the formal mechanisms described below          Resolving Complaints of Sexual Misconduct. If a determination is made
should be used.                                                               that the complaint involves a possible violation of the Consensual
                                                                              Romantic and Sexual Relationships in the Workplace and Educational
A formal complaint of sexual misconduct against any member of the
                                                                              Settings Policy, then the AVP will oversee the formal or informal
Penn community should be initiated by contacting the AVP. Formal
                                                                              resolution process(es), advising the Dean of the applicable school that a
complaints will be handled in accordance with the applicable procedures
                                                                              complaint has been made and discussing any interim measures that may
as set forth below.
                                                                              be needed.
Complaints Against Faculty
Any member of the University community, visitor to campus or a                Members of the University community who would like assistance with
participant in a University-sponsored activity may bring a complaint          making a formal complaint may contact any of the conﬁdential resources
of sexual harassment, sexual violence, relationship violence, stalking        identiﬁed above. As further set forth below, all formal complaints
or inappropriate romantic or sexual relationships in the workplace or         involving Sexual Misconduct are to be initiated by contacting the
educational setting or workplace against a faculty member, instructor,        Associate Vice President for Equity and Title IX Ofﬁcer (“AVP”) who will
postdoctoral or other trainee, or teaching assistant. The complaint should    be responsible for deciding whether the conduct described would violate
be made to the AVP, who will meet with the complainant, determine             the Sexual Misconduct Policy, and if so, which investigative or resolution
the appropriate process under University policy for investigation, and        process to pursue.
oversee that process. If a determination is made that the complaint



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(215) 768-6527 Nights/Weekends                                                of General Counsel, the Employee Assistance Program, Deans, Vice
3611 Locust Walk                                                              Provosts, and Vice Presidents of administrative divisions.
https://sis.vpul.upenn.edu
                                                                              C. Reporting Complaints of Sexual Misconduct
Ofﬁce of Student Conduct
                                                                              1. OFFICE OF THE ASSOCIATE VICE PRESIDENT AND TITLE IX
(215) 898-5651
                                                                              OFFICER
Suite 400, 3440 Market Street
https://www.osc.upenn.edu/                                                    The Ofﬁce of the Associate Vice President and Title IX Ofﬁcer (AVP) will
                                                                              be responsible for ensuring that all complaints made against a University
Ofﬁce of Staff and Labor Relations, Division of Human Resources               staff member alleging a violation of the University’s Sexual Misconduct
(215) 898-6093                                                                Policy (which includes the Sexual Harassment and Consensual Romantic
Suite 600, Franklin Building                                                  and Sexual Relationships in the Workplace and Educational Settings
https://www.hr.upenn.edu/workplace-issues/staff-labor-relations               Policies) are handled appropriately. All AVP responsibilities as described
(https://www.hr.upenn.edu/workplace-issues/staff-labor-relations/)            in these procedures will be performed directly by the AVP or by the AVP’s
                                                                              designee.
3. INVESTIGATIVE OFFICE FOR ALL SEXUAL MISCONDUCT
COMPLAINTS                                                                    Complaints must either be presented in writing or based upon
                                                                              information provided by the complainant or another individual making
The ofﬁcial ofﬁce for reporting, initiating a formal complaint, and
                                                                              the report to the AVP (or designee) who will then memorialize the
investigation of violations of the Sexual Misconduct Policy, including
                                                                              allegations in writing and ask the complainant to conﬁrm the allegations.
violations of the Sexual Harassment Policy, is the Ofﬁce of the Associate
                                                                              Complainants may include University students, staff, or faculty members,
Vice President for Equity and Title IX Ofﬁcer. The contact information for
                                                                              participants in a University-sponsored activity, or others alleging a
that Ofﬁce is:
                                                                              violation of the Policy by a current University staff member.
Associate Vice President for Equity and Title IX Ofﬁcer
(215) 898-2887                                                                2. OFFICE OF THE DISTRICT ATTORNEY AND OFFICE FOR CIVIL
3901 Walnut Street, Suite 320                                                 RIGHTS
                                                                              Complainants may also choose to ﬁle a report with the District Attorney,
https://titleixofﬁce.upenn.edu
                                                                              the Ofﬁce for Civil Rights of the U.S. Department of Education, or other

V. Procedures for Resolving Complaints of                                     external agencies. The University’s processes and the legal system work
                                                                              independently of one another, and the University has its own interest
Sexual Misconduct Against Staff                                               in, and responsibility for, the enforcement of its Sexual Harassment
                                                                                      15
                                                                              Policy. Therefore, the University will not unilaterally defer its processes
A. Introduction                                                               pending the outcome of a criminal process, nor will the outcome of any
The University of Pennsylvania is committed to providing a safe and           legal process be determinative of the University result. The University
healthy environment, free of gender-based misconduct, to all members          will, however, comply with reasonable requests by law enforcement for
of our community and visitors to our community. As such, sexual               cooperation, and upon reasonable request, may temporarily suspend its
harassment, sexual assault, sexual violence, relationship violence,           factﬁnding process in a sexual misconduct investigation so as not to
and stalking will not be tolerated. In order to ensure the creation of        impede the law enforcement process.
a climate where members of the community are able to thrive and
achieve their full potential, the University has developed a wide range       3. SUPPORT, COUNSELING AND ADVICE
of policies, educational programs, broad-based resources, support, and        In making a decision about whether to ﬁle a complaint, complainants may
reporting systems. These procedures supplement these other policies           seek support, counseling, and advice from other ofﬁces on campus. A list
and initiatives, addressing the process by which complaints against a         of these ofﬁces is provided in Section III below. Should the complainant
University staff member for a violation of its Sexual Misconduct Policy       decide to proceed with a University investigation and resolution process
(which includes its Sexual Harassment, Sexual Violence, Relationship          against a University staff member, the Ofﬁce of the AVP will be the single
                                                                                                            16
Violence and Stalking Policy (“Sexual Harassment Policy”) and the             place to initiate the process.
Consensual Romantic and Sexual Relationships in the Workplace and
Educational Settings Policy) will be investigated and resolved.               4. TIMEFRAME FOR SUBMITTING A COMPLAINT
                                                                              The University does not limit the timeframe for making a report of a
B. Conﬁdentiality                                                             violation of the Sexual Misconduct Policy. Reports may be made at any
Conﬁdentiality is of critical importance in ensuring that these sensitive     time, although the University’s ability to investigate or take action may
matters are handled appropriately. The University has an obligation           be limited by the passage of time, or by changes in the employment
to respond to violations of its Sexual Misconduct Policy as fairly and        relationship of the alleged respondent at the time the report is made.
expeditiously as possible when a complaint is received. University staff
and faculty may share information with others who have a legitimate           5. COMPLAINANT REQUEST FOR CONFIDENTIALITY
need to know in order to fairly and effectively address complaints, but the   The University is required by Title IX to weigh the complainant’s request
information should be considered conﬁdential and should be protected to       for conﬁdentiality/privacy with the University’s commitment to provide
the extent possible consistent with legal obligations. Such administrators    a reasonably safe and nondiscriminatory environment. In situations
may include, for example those in, the Division of University Life, the       where a complainant requests conﬁdentiality, the University’s ability
Division of Human Resources, the Ofﬁce of the Associate Vice President        to investigate and respond to the allegations may be limited. The AVP
and Title IX Ofﬁcer (AVP), the Division of Public Safety, Senior Vice         will notify the complainant if the University cannot, in unusual cases,
President for Institutional Affairs and Chief Diversity Ofﬁcer, the Ofﬁce     maintain the complainant’s conﬁdentiality/privacy. The complainant’s
                                                                              and respondent’s identities will only be revealed to those individuals who

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need to know their names in order to investigate, resolve the complaint or     pattern of violations of the Sexual Misconduct Policy, evidence that helps
provide interim measures. If the University becomes aware of behavior or       to establish such a pattern may be considered.
a pattern of behavior by one or more respondents, the University will take
appropriate action in an attempt to protect the University community.          (f) While the process is underway, appropriate interim measures will
                                                                               be taken to protect the parties. The Ofﬁce of Staff and Labor Relations
D. Investigation and Resolution of Complaints                                  in the Division of Human Resources (or another appropriate ofﬁce), in
                                                                               consultation with the respondent’s supervisor, will implement interim
The Ofﬁce of the Associate Vice President for Equity and Title IX Ofﬁcer       measure to protect the parties consistent with principles of fairness.
(AVP) is responsible for overseeing the informal or formal resolution of all   The Ofﬁce of Staff and Labor Relations in the Division of Human
complaints made against a University staff member for a violation of the       Resources (or other appropriate ofﬁce) will work with the complainant
University’s Sexual Misconduct Policy. Complaints should be made with          and respondent to ensure that both parties have access to support and
the AVP who will ensure that complaints are investigated by a trained          assistance during the process.
Investigative Ofﬁcer (IO), who will select a co-investigator to form the
Investigative Team. The Investigative Team will consult with the Dean          Consensual Romantic and Sexual Relationships in the Workplace and
of the school or Vice President of the division in which the respondent        Educational Settings
works, or the Vice President for Human Resources in any case for which
                                                                               If the AVP determines that the complaint involves a possible violation
the Dean or Vice President has an actual or the appearance of a conflict
                                                                               of the Consensual Romantic and Sexual Relationships in the Workplace
of interest or is implicated in the complaint.
                                                                               and Educational Settings and not the Sexual Harassment, Sexual
Complaints must either be presented in writing or based on information         Violence Relationship Violence or Stalking Policy, the complaint will
provided by the complainant or another individual making the report who        be investigated by an IO, working with the appropriate Dean or Vice
will then memorialize the allegations in writing and ask the complainant       President, or in the event of an actual or perceived conflict of interest,
to conﬁrm them. Complainants may include University students, staff or         the Vice President for Human Resources. The facts, conclusions, and
faculty member, as well as others both within and outside the University       recommendations reached by the IO will be reported to the appropriate
community, alleging a violation of the University’s Sexual Misconduct          Vice President or Dean. In the event of a ﬁnding of responsibility for a
Policy by a University staff member.                                           violation of the Sexual Misconduct Policy, appropriate disciplinary action
                                                                               will be taken.
1. TIMELY RESOLUTION
                                                                               Any disciplinary action taken against a staff person is subject to appeal
The process of resolving complaints, exclusive of any appeal, should           by either party in writing to the Vice President for Human Resources (or
be completed, unless there are special circumstances, within 60                designee) and the Dean of the school, Vice President of the division, or
business days of the ﬁling of the written complaint. The appeal should be      Vice Provost of the division in which the respondent works, who jointly
completed, absent special circumstances, within 30 business days of the        have exclusive jurisdiction to decide appeals.
ﬁling of the appeal.
                                                                               i. Appeals should be submitted to the AVP within 10 business days of
The complainant and the respondent will both be provided with a copy of        transmission of the decision of the Investigative Team. Letters of appeal
the Investigative Team’s decision and given 10 business days from the          should speciﬁcally state whether the objection is to the judgment of a
date of the transmittal of that decision to ﬁle an appeal.                     violation of University policy, the recommended sanction, or both, and
                                                                               explain in detail the grounds for appeal.
2. RIGHTS AND PROTECTIONS FOR COMPLAINANT AND
RESPONDENT                                                                     ii. The Vice President for Human Resources (or designee) and the Dean
(a) The complainant and respondent have the right to a process that is         or Vice President of the school or division will review the report of the
fundamentally fair, and free of bias or prejudice.                             Investigative Team to ensure that the process was consistent with
                                                                               University policy and that the decision was not arbitrary or capricious.
(b) The complainant and respondent have the right to be treated with           Any supporting evidence, and any other relevant materials may also
respect, dignity, sensitivity, and fairness throughout the entire process.     be reviewed by the Vice President for Human Resources (or designee)
They are both entitled to seek support from the University and to be           and the Dean or Vice President of the relevant school or division at their
informed about the process both before the process is initiated and            discretion.
throughout the process as it unfolds.
                                                                               iii. After considering the appeal, the Vice President for Human Resources
(c) Both parties have the right to participate in the process, or to refrain
                   17                                                          (or designee) and the relevant Dean or Vice President (or designee) will
from participation. The failure to participate will not be used as             promptly notify the parties in writing as to whether the Investigative
evidence against either party, but also will not prevent the process from      Team’s decision will be upheld or modiﬁed. The decision of the relevant
proceeding unless the complainant withdraws the complaint and the              Dean or Vice President and the Vice President for Human Resources will
University agrees to abide by that request                                     be ﬁnal.
(d) Both parties may have an advisor present when being interviewed by         Sexual Harassment, Sexual Violence, Relationship Violence and Stalking
the Investigative Team, but the advisor will not be permitted to present
statements, seek the production of evidence, or question any witnesses         If the AVP determines that the complaint involves a possible violation
during the investigative stage of the process.                                 of the Sexual Harassment, Sexual Violence Policy, Relationship Violence
                                                                               and Stalking Policy (Sexual Harassment Policy) the procedures set forth
(e) Evidence of prior sexual conduct by the complainant or respondent          below will apply.
with other partners will not be considered in the process, and any
evidence of a prior sexual relationship between the parties will not be
determinative of the issue of consent. If there is credible evidence of a

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1. PRELIMINARY DETERMINATION                                                   3. INVESTIGATIVE REPORT
Upon receiving a complaint, the AVP will make a preliminary                    At the conclusion of the investigation, the Investigative Team will prepare
determination as to whether the complaint falls within the purview of          a draft report, including assessments of credibility, a ﬁnding as to
the Sexual Misconduct Policy and whether, on its face, there appears           whether there has been a violation of University policy, and, if applicable,
to be a sufﬁcient basis to conduct a full investigation. In making             recommended disciplinary action. In making a determination regarding
this determination, the AVP may interview the complainant and the              responsibility, the Investigative team will use a preponderance of the
respondent (after advising the respondent of the allegations in writing)       evidence standard. In other words, to ﬁnd a staff member responsible for
and conduct whatever preliminary investigation the AVP deems                   violating the Sexual Misconduct Policy, the Investigative Team must be
necessary to determine if the actions alleged in the complaint would, if       convinced that it is more likely than not that a violation of the Policy has
true, constitute a violation of the University’s Sexual Harassment Policy)     occurred.
and there is a reasonable basis for investigating the complaint. If the
AVP concludes there is insufﬁcient basis to proceed, the matter will be        (a) Opportunity for Review and Comment
                                                                               The draft investigative report and related exhibits and evidence will
concluded, and the parties so advised.
                                                                               be provided to both the complainant and respondent for review and
2. INVESTIGATION                                                               comment, under strict instructions that they are and at all times remain
If the AVP makes the determination that there is a sufﬁcient basis to          strictly conﬁdential, and are not to be shared with anyone other than their
proceed, a Statement of Charge Letter will be issued, based on the             families and advisors or outside counsel, as described above without the
complaint and any preliminary investigation conducted. The Charge              expressed consent of the AVP. Sharing of the draft report by either party,
Letter will be provided to the complainant and the respondent. The             their families, advisors or outside counsel with any additional persons
respondent will be provided the opportunity to respond in writing to the       is strictly prohibited and anyone with whom the report is shared must
Charge, and any response will be shared with the complainant. The Dean         be so advised. The complainant and the respondent will be given the
or Vice President of the division i in which the respondent is employed        opportunity to respond to and comment on the draft investigative report
will also receive a copy of the Charge Letter.                                 in writing.

The AVP will appoint an Investigative Ofﬁcer (IO) to lead a thorough and       (b) Final Report
impartial investigation, assisted by one or more co-investigators who may      As a result of the response and comments received, the Investigative
come from the school or center of one of the parties or from elsewhere         Team may conduct a further investigation and/or amend the draft report,
in the University (the “Investigative Team”). The co-investigator(s)           if the Team determines either action to be warranted. A ﬁnal investigative
will be University staff or faculty members appropriately trained to           report will be prepared, incorporating any changes, and shared with the
investigate and handle sexual misconduct cases who will be selected            complainant and the respondent. The complainant and respondent may
for individual cases by the IO. The investigation will include interviews of   submit formal objections or comments to the ﬁnal report, which will be
the complainant and respondent, interviews of witnesses, and review of         shared with the other party and be appended to the ﬁnal report of the
documentation, physical evidence, and any other relevant evidence.             matter.

Prior to interviews, the complainant, the respondent, and any relevant         4. RESOLUTION WITHOUT A HEARING
witnesses will be informed by the IO that statements they make during          The matter may be resolved at this stage if both parties agree to the
the process may be admissible in concurrent or subsequent civil or             recommendations of the Investigative Team with respect to responsibility
criminal court proceedings and will accordingly also be informed of            and, if applicable, sanctions, or if the parties otherwise reach a mutually
their rights as outlined in Section B above. The parties will be advised       acceptable resolution. The University, however, will not compel either the
of the seriousness of the proceeding and the expectation that the              complainant or the respondent to engage in face-to-face mediation or to
information they provide is both accurate and complete. Any false or           accept the recommendations of the Investigative Team.
misleading statements may subject the party making such statements
to proceedings under the applicable University policy, handbook,
                                                                               5. HEARING PANEL
                                                                               If the matter is not resolved at this stage in a mutually acceptable
code and/or charter. The complainant and respondent may have their
          18                                                                   manner, either party may request a hearing before a Hearing Panel
advisors and/or outside counsel present for their interviews, but
                                                                               (Panel) within 10 business days of transmission of the ﬁnal report.
the advisors or outside counsel will not be permitted to participate
in the interview other than to provide advice to the person they have          (a) Panel Membership
accompanied, and they may be excluded from the interview for disruptive        The Panel will be comprised of three (3) faculty members and the
behavior.                                                                      Designated Hearing Ofﬁcer (DHO), who will be a non-voting member. The
                                                                               DHO will make all decisions about the organization of the Panel, including
In conducting the investigation, the Investigative Team may, as
                                                                               decisions regarding the admissibility of evidence, witnesses to appear
appropriate, also consult with other campus ofﬁcials including but
                                                                               before the panel, or any additional decisions regarding the administration
not limited to administrators in the relevant division(s), school(s),                                  19
                                                                               of the hearing process. Members of the Panel, including the DHO, will
Public Safety, the AVP and Title IX Ofﬁcer, the Senior Vice President for
                                                                               observe the following guidelines:
Institutional Affairs and Chief Diversity Ofﬁcer, or the Vice President for
Human Resources. The Investigative Team may also consult with the              i. Members will be selected from a pool of faculty who have agreed to
Ofﬁce of General Counsel, who may determine in particular cases to             serve for a term of one or more years.
engage outside counsel to assist the University throughout this process.
The Investigative Team may engage forensic and other experts, as               ii. Only mixed-gender panels of faculty who have participated in training
needed.                                                                        on handling complaints involving sexual misconduct will hear sexual
                                                                               misconduct cases.




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iii. Faculty appearing on a Panel may not share an academic department         iii. The Hearing will be held in private. Only the person being interviewed
afﬁliation (e.g., has a faculty appointment or is enrolled in a course of      (and in the case of the parties, that person’s advisor or outside counsel)
study) with either of the parties, nor may any faculty member serve on the     will be present when the Hearing is in session. The complainant or
Panel who has a professional, or personal relationship with either of the      respondent (and their advisor or outside counsel, as applicable) will be
parties. Faculty asked to serve must recuse themselves or be dismissed         able to view interviews from separate rooms via closed-circuit television
if they have any personal or professional ties to either of the parties or     or similar video transmission.
to individuals with whom the parties are closely associated. Faculty with
personal knowledge of the alleged incident of sexual misconduct also           iv. Subject to the protections set forth in Section D2 above, the Panel has
must recuse themselves or be dismissed.                                        wide latitude when questioning the complainant, the respondent and any
                                                                               witnesses in order to determine the accuracy of the report.
iv. The University will train members of the pool to fulﬁll their
responsibilities as adjudicators according to the procedures and policies      v. The complainant and respondent may propose witnesses and provide
outlined here and to ensure compliance with Title IX and other applicable      speciﬁc questions in advance that they believe important to ask of other
state and federal guidelines. In addition, the Panel will be provided with     parties or witnesses. The parties’ advisors may also interview the other
“just in time” training on adjudicating sexual misconduct cases, unless        party and witnesses called by the Panel. The DHO, in consultation with
the Panel members have recently been trained.                                  the Panel, will determine the relevance as well as the appropriateness
                                                                               of witnesses and questions, and may accordingly place restrictions on,
v. No member of the Investigative Team may serve on the Panel;                 include or exclude witnesses or other information.
however, any such individual may be interviewed by the Panel regarding
the investigation. The AVP or IO may assist the DHO as needed in               vi. When the Panel is conducting the interview of the complainant and
organizational and administrative matters related to the Panel.                respondent, each may bring an advisor or outside counsel with them
                                                                               to provide advice and support. The advisor or outside counsel will be
vi. The complainant and respondent will be notiﬁed of the membership           permitted to direct relevant questions to the other party or to witnesses.
of the Panel in advance of the Hearing. Any challenges for cause against       The advisor or outside counsel may be excluded from the interview by the
individual Panel members must be made promptly to the DHO so as                DHO for disruptive behavior.
not to delay the conduct of the Hearing. The DHO will give serious
consideration to any challenges made to ensure impartiality of the             vii. The interviews by the Panel will be recorded (audio only). No
proceedings.                                                                   observers will be permitted to make any audio or video recordings.

vii. All proceedings must be kept strictly conﬁdential among the parties,      (c) Hearing Panel Decision
                                                                               After the Hearing concludes, the Panel will immediately deliberate in
witnesses and members of the Panel. All individuals involved in such
                                                                               private to decide whether, by a preponderance of the evidence, the
Hearings must agree to such conditions of conﬁdentiality.
                                                                               respondent has violated the University’s Sexual Misconduct Policy.
(b) Hearing Procedures                                                         Preponderance of the evidence means that the Panel must ﬁnd that it is
Hearings must be prompt, fair and impartial, affording the complainant’s       more likely than not that the staff member is responsible for a violation
allegations and the respondent’s defenses all due consideration                of the Policy. A ﬁnding of responsibility requires a majority vote of the
and protecting the rights of both parties. The Panel will review the           members of the Panel.
Investigative Team’s ﬁnal report, including any responses, objections or
comments provided by the parties. The Panel will also carefully review         i. If the respondent is found responsible, the Panel will also recommend
the evidentiary record, including witness statements, documents and            an appropriate sanction, by majority vote, based upon the facts of
physical evidence.                                                             the case and University precedent, with a presumption in favor of the
                                                                               sanction recommended by the Investigative Team.
Hearing Panel Interviews
                                                                               ii. The Panel will arrive at its conclusion as expeditiously as possible
i. The Panel will interview separately the IO (and co-investigator(s) if the   and will promptly advise both the complainant and the respondent in
Panel so chooses), the complainant and the respondent. The Panel will          writing of its decision with respect to responsibility and, if applicable,
provide the complainant and respondent with ten days (10) advance              recommended sanctions. In keeping with guidelines for timely resolution
notice of the Hearing. If reasonably possible, interviews will be conducted    as provided in Section A above, the written decision will be provided as
on one day, but if such scheduling would require an unreasonably long          soon after the conclusion of the proceeding as is possible.
day, or if such scheduling would unreasonably delay the proceeding, the
Hearing may be scheduled over multiple days.                                   E. Appeals
                                                                               Either party may appeal the decision of the Hearing Panel by submitting
ii. The Panel may seek additional evidence from the Investigative Team         a written request within 10 business days of transmission of the decision
and interview key witnesses on whom the Investigative Team relied in           of the Hearing Panel. Letters of appeal should speciﬁcally state whether
drawing their conclusions, as well as request additional evidence from         the objection is to the judgment of a violation of University policy, the
the IO to clarify the evidentiary record, provided that it can do so without   recommended sanction, or both, and explain in detail the grounds for
unreasonably delaying the process. In the event that a new witness             appeal. The request for an appeal (including any attachments) will be
comes forward during the Hearing who was not originally interviewed            shared with the other party who will have the opportunity to respond or to
by the Investigative Team, or new evidence is discovered after the             direct comments to the DAO within 10 business days. Any such response
Investigative Team has issued their report, the DHO may allow that             or comments will be shared with the other party.
witness to be interviewed or admit the evidence to the hearing, but only if
the DHO judges the new witness or evidence to be relevant to an accurate       The DAO will review the report of the Investigative Team and supporting
and fair determination of the outcome.                                         evidence, the audio record of the Panel Hearing, and any other material
                                                                               the DAO deems relevant, in addition to the decision of the Panel to ensure


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that the process was consistent with University policy, that the result was   (866) 799-2329
not arbitrary or capricious, that there were no procedural irregularities,    www.healthadvocate.com/upenn (http://catalog.upenn.edu/faculty-
that there was no demonstrated bias or conflict of interest on the part of    handbook/vi/vi-e/www.healthadvocate.com/upenn/)
any fact-ﬁnder, and that no new evidence has been brought forward that
would alter the outcome of the Hearing.                                       2. OFFICIAL REPORTING OFFICES FOR SEXUAL MISCONDUCT
                                                                              COMPLAINTS
After considering the appeal, the DAO will promptly issue their decision      If reports of sexual misconduct are made with or come to the attention of
in writing and will provide copies to the DHO, the Provost, the Senior Vice   the following ofﬁces, they must ensure that appropriate action is taken,
President for Institutional Affairs and Chief Diversity Ofﬁcer, the Vice      including notifying the University’s AVP and Title IX Ofﬁcer:
President for Human Resources, the complainant, respondent, and other
appropriate parties.                                                          Ofﬁce of Afﬁrmative Action and Equal Opportunity Programs
                                                                              Suite 421, Franklin Building
F. Resource Ofﬁces                                                            (215) 898-6993
                                                                              http://www.upenn.edu/afﬁrm-action/
1. CONFIDENTIAL RESOURCES
Generally, the information shared with conﬁdential resources will             Student Intervention Services, VPUL
be held in conﬁdence, consistent with the University’s obligation to          (215) 898-6081
address complaints of sexual misconduct, unless the person sharing            (215) 768-6527 Nights/Weekends
the information gives their consent to the disclosure of that information.    3611 Locust Walk
Non-identifying information regarding complaints should be provided           https://sis.vpul.upenn.edu
to the AVP for purposes of assuring compliance with Title IX and other
applicable laws and regulations. Conﬁdential resources are not obligated      Ofﬁce of Student Conduct
to share identifying information with the AVP when an incident of sexual      Suite 400, 3440 Market Street
misconduct is shared with that resource. However, the commitment              (215) 898-5651
to conﬁdentiality does not preclude the sharing of information among          https://www.osc.upenn.edu/
University administrators as appropriate to keep members of the
University community safe. In addition, conﬁdential resources should          Ofﬁce of Staff and Labor Relations, Division of Human Resources
submit non-identifying information about incidents of sexual misconduct       Suite 600, Franklin Building
to the Division of Public Safety for the purpose of crime statistics          (215) 898-6093
reporting under the Clery Act. (For additional information regarding          https://www.hr.upenn.edu/workplace-issues/staff-labor-relations
requirements, see the Clery Act & Crime Reporting page at https://            (https://www.hr.upenn.edu/workplace-issues/staff-labor-relations/)
www.publicsafety.upenn.edu/clery/). The University’s conﬁdential
resources are:
                                                                              3. INVESTIGATIVE OFFICE FOR SEXUAL MISCONDUCT COMPLAINTS
                                                                              The ofﬁcial ofﬁce for reporting, initiating a formal complaint, and
Special Services Department, Division of Public Safety                        investigation of violations of the Sexual Misconduct Policy, including
24-hours/7 days per week: (215) 898-6600                                      violations of the Sexual Harassment Policy, is the Ofﬁce of the Associate
4040 Chestnut Street                                                          Vice President for Equity and Title IX Ofﬁcer. The contact information for
http://www.publicsafety.upenn.edu/special-services/                           that Ofﬁce is:

Penn Women’s Center                                                           Associate Vice President for Equity and Title IX Ofﬁcer
(215) 898-8611                                                                3901 Walnut Street, Suite 320
3643 Locust Walk                                                              (215) 898-2887
http://pwc.vpul.upenn.edu                                                     https://titleixofﬁce.upenn.edu

Lesbian Gay Bisexual Transgender Center
(215) 898-5044
                                                                              1
3907 Spruce Street                                                              The terms “harassment” and “sexual harassment” are used throughout
https://lgbtc.vpul.upenn.edu/                                                 and are deﬁned as a matter of University policy, and are not necessarily
                                                                              identical or limited to the uses of the term in external sources, including
African-American Resource Center                                              governmental guidelines, laws, regulations or legal decisions. The Sexual
(215) 898-0104                                                                Harassment, Sexual Violence, Relationship Violence and Stalking Policy
3643 Locust Walk                                                              and the Consensual Romantic and Sexual Relations in the Workplace
http://www.upenn.edu/aarc/                                                    and Educational Setting Policy are sometimes referred to together as the
                                                                              “Sexual Misconduct Policy.”
Ofﬁce of the University Chaplain
                                                                              2
(215) 898-8456                                                                  For purposes of this policy, “faculty” includes (but is not limited to)
240 Houston Hall, 3417 Spruce Street                                          standing faculty, clinical faculty, associated faculty, and academic
http://www.upenn.edu/chaplain/                                                support staff, as well as clinical or lab supervisors, postdoctoral fellows,
                                                                              house staff, residents, graduate and undergraduate teaching assistants,
Ofﬁce of the Ombuds                                                           and any other person providing instruction, academic advising, or
(215) 898-8261                                                                academic oversight of an enrolled student in any school, course, or
113 Duhring Wing, 236 S. 34th Street                                          program, including summer and off-campus programs, irrespective of
http://www.upenn.edu/ombuds/                                                  geographical location.
Employee Assistance Program, Health Advocate


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